Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2073    Page 1 of 149
                             Evidentiary Hearing • September 12, 2018
                                                                                        1

     1                         UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
     2                               SOUTHERN DIVISION
                                         _ _ _
     3
           UNITED STATES OF AMERICA,
     4
                          Plaintiff,
     5
              vs.                                     Case No. 17-20595
     6
           YOUSEF M. RAMADAN,                         Hon. Marianne O. Battani
     7
                       Defendant.
     8     _______________________________/
     9                              EVIDENTIARY HEARING
    10                 BEFORE THE HONORABLE MARIANNE O. BATTANI
                             United States District Judge
    11                  Theodore Levin United States Courthouse
                             231 West Lafayette Boulevard
    12                             Detroit, Michigan
                             Wednesday, September 12, 2018
    13
           APPEARANCES:
    14
           For the Plaintiff:       RONALD W. WATERSTREET
    15                              MICHAEL M. MARTIN
                                    U.S. Attorney's Office
    16                              211 W. Fort Street, Suite 2001
                                    Detroit, MI 48226
    17                              (313) 226-9100
    18     For the Defendant:       ANDREW DENSEMO
                                    COLLEEN P. FITZHARRIS
    19                              Federal Defender Office
                                    613 Abbott, 5th Floor
    20                              Detroit, MI 48226
                                    (313) 967-5555
    21
    22     Also Present:            Tania Ghanem, Court Interpreter
    23
    24         To obtain a copy of this official transcript, contact:
                      Robert L. Smith, Official Court Reporter
    25              (313) 234-2612 • rob_smith@mied.uscourts.gov


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2074    Page 2 of 149
                             Evidentiary Hearing • September 12, 2018
                                                                                        2

     1                               TABLE OF CONTENTS
     2
           WITNESSES                                                        PAGE
     3
           OFFICER CHARLES SCHMELTZ
     4     Direct Examination by Mr. Densemo.................. 10
     5     AGENT MITCHELL ARMENTROUT
           Direct Examination by Mr. Densemo.................. 21
     6     Cross-Examination by Mr. Waterstreet............... 38
           Redirect Examination by Mr. Densemo................ 44
     7
           AGENT PATRICK KELLEY
     8     Direct Examination by Mr. Densemo.................. 45
     9     OFFICER JAMES BROWN
           Direct Examination by Mr. Densemo.................. 59
    10     Cross-Examination by Mr. Waterstreet............... 67
           Redirect Examination by Mr. Densemo................ 70
    11
           AGENT MICHAEL THOMAS
    12     Direct Examination by Mr. Densemo.................. 73
    13
    14     ARGUMENT
    15     Motion to Dismiss for Outrageous Governmental
           Misconduct......................................... 82
    16
           Motion to Suppress Statements and Search of
    17     Electronic Devices................................. 92
    18
    19
    20
    21
    22
    23
    24
    25


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18     PageID.2075   Page 3 of 149
                             Evidentiary Hearing • September 12, 2018
                                                                                        3

     1      Detroit, Michigan
     2      Wednesday, September 12, 2018
     3      at about 10:43 a.m.
     4                                     _    _     _
     5                (Court, Counsel and Defendant present.)
     6                THE LAW CLERK: Please rise.
     7                The United States District Court for the Eastern
     8     District of Michigan is now in session, the Honorable
     9     Marianne O. Battani presiding.
    10                You may be seated.
    11                The Court calls Case No. 17-cr-20595, United States
    12     of America vs. Mohammed Ramadan.
    13                THE COURT: Good morning.
    14                MS. FITZHARRIS: Good morning, Your Honor.
    15                MR. DENSEMO: Good morning.
    16                MR. MARTIN: Good morning, Your Honor.
    17                THE COURT: May I have your appearances, please?
    18                MR. MARTIN: Yes, Your Honor. Michael Martin and
    19     Ronald Waterstreet for the government, and with us today is
    20     FBI Special Agent John Banach and our paralegal
    21     Darlene Secord.
    22                THE COURT: Okay.
    23                MR. DENSEMO: Good morning, Your Honor.
    24     Andrew Densemo on behalf of Yousef Ramadan.
    25                THE INTERPRETER: Good morning, Your Honor.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2076    Page 4 of 149
                             Evidentiary Hearing • September 12, 2018
                                                                                        4

     1     Tania Ghanem from Worldwide Interpreters, and I'll be the
     2     interpreter.
     3                THE COURT: Okay.
     4                MS. FITZHARRIS: Good morning, Your Honor.
     5     Colleen Fitzharris on behalf of Mr. Ramadan.
     6                THE COURT: All right. Would you please swear the
     7     interpreter in.
     8                THE LAW CLERK: Please raise your right hand.
     9                Do you solemnly swear that you will interpret
    10     accurately and truly Arabic into the English language and
    11     English into the Arabic language to the best of your skill
    12     and judgment?
    13                THE INTERPRETER: I do.
    14                THE COURT: All right. Let's begin. We have some
    15     motions and, I understand, some witnesses. Is that correct,
    16     Mr. Martin?
    17                MR. MARTIN: Yes, Your Honor. If I could just
    18     address the Court and kind of tell you where I think things
    19     stand at this time.
    20                THE COURT: Okay.
    21                MR. MARTIN: May I?
    22                THE COURT: Yes, please.
    23                MR. MARTIN: So before the hearing today, I went
    24     back, and I looked at all the motions that have been filed as
    25     well as the motions that have been ruled on, the motions that


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2077    Page 5 of 149
                             Evidentiary Hearing • September 12, 2018
                                                                                        5

     1     have been outstanding, and then some recently filed motions
     2     by the defense. And so I believe, as I understand it, all of
     3     the defense motions have been denied or dealt with, with the
     4     exception of three, which are the Motion to Suppress Evidence
     5     from the Defendant's Storage Locker, that's Docket Number 19,
     6     the Motion to Suppress His Statements to Law Enforcement
     7     Officers, that's Docket Number 20, and then I also believe
     8     outstanding is his Motion for Return of Seized Property,
     9     that's Docket Number 31, and that relates to his claim that
    10     the government stole money and jewelry from him.
    11                All of his other motions, discovery motions,
    12     motions to dismiss, all of those have been denied by the
    13     Court in two orders; one is Docket Number 82 and the other is
    14     Docket Number 83.
    15                THE COURT: What is number 82?
    16                MR. MARTIN: That's an order from the Court denying
    17     or granting in part all of the defendant's other discovery
    18     motions and motions to be dismissed that have been filed over
    19     the past six months or so. So you've dealt with all of
    20     those, I believe, in orders -- in your orders which are
    21     Docket Numbers 82 and 83.
    22                However, there -- in the past month the defense
    23     filed two more motions. One is a Motion to Dismiss for
    24     Outrageous Government Conduct; that's Docket Number 100,
    25     filed under seal. The government responded to that on Monday


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2078    Page 6 of 149
                             Evidentiary Hearing • September 12, 2018
                                                                                        6

     1     by the due date, and that motion should probably be set for
     2     some future hearing. Then they also filed about two weeks
     3     ago a Motion to Compel Discovery, that's Docket Number 103;
     4     our response is not due until later this week. So those two
     5     new motions are outstanding.
     6                What we are here for today is testimony from the
     7     law enforcement officers who testified at the suppression
     8     hearing so that the defense can cross-examine them on some
     9     e-mails and other documents provided to them by the
    10     government. We are not here, in my view, to rehash all of
    11     the testimony that these officers gave before or in previous
    12     days of the suppression hearing. We are simply here to allow
    13     them to try to impeach their witnesses with the new
    14     discovery, if you will, that they have received from the
    15     government since their testimony the first time.
    16                THE COURT: Okay.
    17                MR. MARTIN: So in my view the testimony today
    18     should really be rather limited in scope. And I raise that
    19     because I'm concerned that the defense may try to steer the
    20     exam -- the cross-examination into areas that touch on these
    21     two new motions that they filed, particularly this Motion for
    22     Outrageous Government Conduct. In that motion they ask the
    23     Court for an evidentiary hearing so that they can examine not
    24     only the law enforcement officer but myself, Mr. Waterstreet,
    25     Hank Moon, the other assistant United States attorney on the


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2079    Page 7 of 149
                             Evidentiary Hearing • September 12, 2018
                                                                                        7

     1     case who couldn't be with us today, and they even asked to
     2     examine Ms. Secord. My concern is -- well, really what they
     3     are trying to do is they want to get discovery on why the
     4     government made its decisions to produce certain documents
     5     and not, who was involved in that decision-making, and things
     6     of that nature, none of which would be proper examination for
     7     today's purposes which is simply to, again, provide them an
     8     opportunity to impeach these witnesses with respect --
     9                THE COURT: Why don't we hear the Motion for
    10     Outrageous Conduct today?
    11                MR. MARTIN: Well, we could, but I -- I'm prepared
    12     to argue it, but my point though being, I think that that
    13     motion can and should be decided on the law and that no
    14     evidentiary hearing should be had. Certainly, you know, I'm
    15     not prepared to testify today. I don't want --
    16     Mr. Waterstreet, Ms. Secord, and I don't want to spend all
    17     day with the agents and --
    18                THE COURT: We aren't having testimony of anybody.
    19                MR. MARTIN: Very well, then I'm very happy to
    20     argue that on the law today.
    21                THE COURT: Okay. Mr. Densemo or Ms. Fitzharris?
    22                MR. DENSEMO: I don't know what the -- if the
    23     government is asking the Court to censure me, then I don't
    24     believe --
    25                THE COURT: If the government -- what? I'm sorry.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2080    Page 8 of 149
                             Evidentiary Hearing • September 12, 2018
                                                                                        8

     1                MR. DENSEMO: That the government -- I think the
     2     government is asking the Court to restrict my examination of
     3     these witnesses.
     4                THE COURT: Well, you may examine these witnesses
     5     who have already testified to the extent that you have the
     6     new documents but only as to that; we are not going to repeat
     7     what they have done before.
     8                MR. DENSEMO: That wasn't my intent, Your Honor.
     9                THE COURT: Okay.
    10                MR. DENSEMO: And insofar as the government making
    11     that assumption, I don't know why they would make an
    12     assumption like that when I know the law as well as they do.
    13                THE COURT: Okay.
    14                MR. DENSEMO: So my questions that I have will be
    15     directed hopefully with reference to the documents that have
    16     been provided, and I have no intention of rehashing -- I have
    17     no desire to rehash this entire case.
    18                THE COURT: Okay.
    19                MR. DENSEMO: So I'm prepared to proceed.
    20                THE COURT: What about the Motion for Outrageous
    21     Conduct; any reason not to do that today?
    22                MR. DENSEMO: Well, if the -- well, no, if the
    23     Court -- the Court has already indicated to Mr. Martin that
    24     the Court is not going to take testimony, so that suggests to
    25     me that the Court is probably prepared to rule on the


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2081    Page 9 of 149
                             Evidentiary Hearing • September 12, 2018
                                                                                        9

     1     documents, and has made some initial determination how it
     2     wants to proceed with regard to that motion, so we can go
     3     forward if the Court desires.
     4                THE COURT: All right. Let's start with the
     5     witnesses.
     6                MR. DENSEMO: All right. Thank you. Your Honor,
     7     we would like to call officer -- if the government isn't
     8     going to call anyone, then we would like to start with
     9     Officer Schmeltz.
    10                MR. MARTIN: That's fine, Your Honor. We have the
    11     witnesses all in a room.
    12                THE COURT: Okay. And what documents do you have
    13     now?
    14                MR. DENSEMO: I have two e-mails, and I will show
    15     them to the government, from Officer Schmeltz. I can show
    16     them to the Court. Officer Schmeltz will be really brief.
    17                THE COURT: Okay.
    18                MR. DENSEMO: Thank you.
    19                THE COURT REPORTER: Would you please raise your
    20     right hand.
    21                Do you solemnly swear or affirm that the testimony
    22     you are about to give this Court will be the truth, the whole
    23     truth, and nothing but the truth, so help you God?
    24                OFFICER SCHMELTZ: I do.
    25                MR. DENSEMO: Ready?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2082     Page 10 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          10

      1               THE COURT: Ready.
      2                         OFFICER CHARLES SCHMELTZ,
      3    called at about 10:57 a.m., was examined and testified on his
      4    oath as follows:
      5                               DIRECT EXAMINATION
      6    BY MR. DENSEMO:
      7    Q.   Officer Schmeltz, could you state your full name for the
      8    record?
      9    A.   Charles Schmeltz.
    10     Q.   And, Officer Schmeltz, you've testified previously
    11     during the suppression hearing, haven't you?
    12     A.   I have.
    13     Q.   And you participated in the interview, examination,
    14     interrogation, questioning of Yousef Ramadan on August 15th,
    15     2017?
    16     A.   I'm not a hundred percent on the date, but, yes, I
    17     interviewed him.
    18     Q.   All right. And after that interview, you prepared
    19     reports?
    20     A.   Yes, I did.
    21     Q.   Okay. And during the course of -- and you have had
    22     communications with people with whom you work such -- in the
    23     form of e-mails; is that correct?
    24     A.   I would have, yes.
    25                MR. DENSEMO: May I approach the witness, Your


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2083     Page 11 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          11

      1    Honor?
      2                THE COURT: You may.
      3    BY MR. DENSEMO:
      4    Q.   Do you recognize the document I just handed to you,
      5    Officer Schmeltz?
      6    A.   Yes.
      7    Q.   Okay. What is that?
      8    A.   It's an e-mail I sent to my supervisor.
      9    Q.   And what does that e-mail say?
    10     A.   "After a search of my e-mails, I have none pertaining to
    11     Ramadan --
    12                 THE COURT REPORTER: Slower.
    13     A.   Oh, I'm sorry. I get you every time.
    14                 It basically says, "After the search of my e-mails,
    15     I have nothing pertaining to Ramadan. I do have my reports
    16     but nothing in e-mail. Also I have no notes."
    17     BY MR. DENSEMO:
    18     Q.   You indicated this in an e-mail. When was this e-mail
    19     sent? When was that e-mail sent?
    20     A.   Hang on, I will tell you. It looks like it was sent
    21     Wednesday, February 14th, at 5:19.
    22     Q.   What year?
    23     A.   I believe it was 2018.
    24                 THE COURT: I can't hear you.
    25     A.   2018.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2084     Page 12 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          12

      1    BY MR. DENSEMO:
      2    Q.   I'm handing you another document. Would you tell me
      3    what this document is?
      4    A.   Yep. That is an e-mail from -- to my supervisor on
      5    August 15th, 2017.
      6    Q.   August 15th, 2017, that would have been close in time to
      7    the time that you interviewed Mr. Ramadan?
      8    A.   Yes.
      9    Q.   Okay. And clearly this was in the -- the e-mail that
    10     you sent in -- February 14th, 2018, you indicated that you
    11     had no e-mails -- you indicated after a search of my e-mails
    12     I have none pertaining to Mr. Ramadan?
    13     A.   Yeah.
    14     Q.   Is that what you wrote in August?
    15     A.   I never said I never wrote one. I said I have none,
    16     which means I don't save my e-mails, but my supervisor saved
    17     his and that's why he has this one, but I didn't save my
    18     e-mails.
    19     Q.   So you deleted all of your e-mails?
    20     A.   I always do.
    21     Q.   Pardon me?
    22     A.   I always do, yes.
    23     Q.   Okay. When did you know that -- when did you know that
    24     there was an ongoing federal investigation or that there was
    25     going to be a continuation of the investigation of


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2085     Page 13 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          13

      1    Yousef Ramadan?
      2    A.   I don't remember.
      3    Q.   You don't remember?
      4    A.   It has been like a year. I don't remember when I found
      5    out he was even arrested.
      6    Q.   You don't remember?
      7    A.   I don't know the exact date and time, if that's what
      8    you're asking.
      9    Q.   Pardon me?
    10     A.   I don't know an exact date and time, if that's what
    11     you're asking.
    12     Q.   Did you know -- did you know at some point that there
    13     was a continuing investigation regarding Yousef Ramadan?
    14     A.   Yes.
    15     Q.   And when did you destroy your e-mails?
    16     A.   I delete my box probably --
    17     Q.   If you know, when did you destroy your e-mails?
    18     A.   I don't know, but I delete my box like once every couple
    19     of weeks.
    20     Q.   In your August 15th, 2017 e-mail, you indicated that you
    21     and Armentrout were going to conduct an interview and create
    22     an event for high-side checks. What is -- what does that
    23     mean, create an event for high-side checks?
    24     A.   It's something we do standard.
    25     Q.   Please explain to the Court what that is?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2086     Page 14 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          14

      1    A.     Basically an event for high-side checks is you send
      2    the -- you send it off to NTC to see if there's anything that
      3    we can't see that you have would have to have a SCIF to go
      4    see.
      5    Q.     I don't understand any of that?
      6    A.     Okay. Basically --
      7               THE COURT: Could you move that microphone closer
      8    to you and speak up.
      9    BY MR. DENSEMO:
    10     Q.     And please slow down.
    11     A.     All right. So when you create an event, you create an
    12     event for everybody that has anything of significance or
    13     whatever. You can create an event for anything. When you
    14     create an event, you send it to NTC. NTC is the National
    15     Targeting Center --
    16     Q.     Let me stop you.
    17     A.     It's the National Targeting Center.
    18     Q.     Let me stop you there. Create an event in layman's
    19     terms is you tell people what happened?
    20     A.     It's a report basically.
    21     Q.     It's a report. You created a report; is that right?
    22     A.     Well, I don't know if you classify it as a report
    23     because there's going to be stuff in there from the report,
    24     but it's -- there's a whole lot of other stuff to it as well.
    25     Q.     Okay. And then you send that where?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2087     Page 15 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          15

      1    A.   It goes to the National Targeting Center in D.C.
      2               THE COURT: The National what?
      3    A.   Targeting Center.
      4               THE COURT: Oh, Targeting Center.
      5    A.   Yeah.
      6    BY MR. DENSEMO:
      7    Q.   Who do they target?
      8    A.   What do you mean who do they target? I don't know what
      9    their job does. I just know we send them things, and if
    10     there is anything they have -- they have systems we don't
    11     have access to, and if there is something we need to know,
    12     they let us know; if they don't, they don't.
    13     Q.   Who is the National Targeting Center?
    14     A.   I don't know who they are. I just know what it is.
    15     Q.   What is it?
    16     A.   It is a giant facility in D.C. that does -- basically
    17     they run checks for other entities like ourselves.
    18     Q.   Export violations?
    19     A.   I don't know. I don't know really what they do there.
    20     Q.   Do you do this in every case?
    21     A.   No.
    22     Q.   Why did you do it in this case?
    23     A.   Because for this case it would be normal. If I --
    24     Q.   For this case, what was it about this case that made
    25     this normal?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2088     Page 16 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          16

      1    A.   Excuse me?
      2    Q.   You said for this case it is normal.
      3    A.   Yes, just --
      4    Q.   Okay.
      5    A.   -- though items that he packed that day, the items that
      6    he packed that day, and basically the stuff that we found on
      7    his media devices.
      8    Q.   What stuff?
      9    A.   The ISIS stuff on his media devices.
    10     Q.   Okay. And JTTF is responding, that's also your e-mail.
    11     Who is JTTF?
    12     A.   That's the Joint Terrorism Task Force.
    13     Q.   Okay. And, again, Joint Terrorism Task Force was
    14     brought in because of the stuff, the ISIS propaganda, that
    15     was on the media devices?
    16     A.   Yeah. You would call the Joint Terrorism Task Force
    17     when you find something terrorist related, yes, sir.
    18                MR. DENSEMO: I don't think I have any additional
    19     questions.
    20                MS. FITZHARRIS: Mr. Densemo.
    21                (An off-the-record discussion was held at
    22                11:05 a.m.)
    23     BY MR. DENSEMO:
    24     Q.   All right. Officer Schmeltz, in your August 15th
    25     report, you indicate -- it indicates that this e-mail was


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2089     Page 17 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          17

      1    sent at 8:44 p.m.; is that right?
      2    A.   It says it. I don't remember it, but if it says it.
      3    Okay. Yes.
      4    Q.   And so you sent this e-mail before the media devices had
      5    been searched?
      6    A.   Yeah, that would have been normal.
      7    Q.   All right. And you say you sent that -- you sent that
      8    to this unknown -- this facility, this targeting facility,
      9    because of the ISIS propaganda that was found on the media
    10     devices?
    11     A.   And the stuff that he packed in his bags, I said, yes.
    12     Q.   But you sent the e-mail before the media devices had
    13     even been searched.
    14     A.   I don't recall when the media devices were searched, but
    15     I would have sent that just for the stuff in his bags as
    16     well; I would have sent that to NTC.
    17     Q.   So you don't know -- so you have no recollection of when
    18     the hard drive was searched?
    19     A.   It's been like a year, I don't remember. To be honest
    20     with you, I just don't remember.
    21     Q.   Is there a retention policy that your office has for
    22     retaining e-mails and text messages?
    23                MR. WATERSTREET: Objection, Your Honor; this has
    24     gone beyond the scope.
    25                THE COURT: Overruled. I will allow it.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2090     Page 18 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          18

      1    BY MR. DENSEMO:
      2    Q.   Is there a retention policy that your office has for
      3    retaining --
      4    A.   I have no idea. Every keystroke we have is recorded, so
      5    for us as an individual, deleting our inbox and getting rid
      6    of it means nothing.
      7    Q.   So you are saying that you have no knowledge of what
      8    Customs' and Border Patrol's policy is for the retention of
      9    e-mails, text messages that relate to -- that relate to an
    10     investigation? You have no --
    11     A.   I don't know what they do. I know every keystroke is
    12     recorded, and they keep everything.
    13     Q.   So is your answer to my question yes or no?
    14     A.   No.
    15     Q.   You have no knowledge of what the policy is?
    16     A.   For keeping e-mails, no.
    17     Q.   Or text messages?
    18     A.   Or text messages.
    19     Q.   Have you ever read a booklet that had that information?
    20     A.   I don't recall if I did or didn't. I read lots of
    21     books. CBP has a lot of policies, I don't memorize them all.
    22     Q.   So if there is a policy, you've forgotten it?
    23     A.   No. I'm just saying I don't -- you are asking me -- I
    24     know where you're going with it, but I'm just trying to tell
    25     you if you delete your e-mails, we still have -- CBP still


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2091     Page 19 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          19

      1    retains your e-mail. So our personal inbox, you can delete
      2    it until you're blue in the face, but it is still kept and
      3    recorded but --
      4    Q.   So you are aware -- I'm sorry. So you are aware that
      5    these e-mails should not be permanently deleted?
      6    A.   Well, at the time I don't know if I knew there was even
      7    an investigation or anything at the time.
      8    Q.   That's not my question. My question was: So you're
      9    aware that these e-mails and text messages should not be
    10     permanently deleted?
    11     A.   No, I don't -- I delete my inbox whenever it's full.
    12     Q.   Did you hear the word permanently in my question?
    13     A.   Nothing is permanently deleted at CBP.
    14                THE COURT: What does that mean, nothing is
    15     permanently deleted? Where is it?
    16     A.   Every text message, everything you send is recorded in
    17     our servers. We don't have no control. Like everything you
    18     touch in our keyboards is recorded and kept. That's all I
    19     know. I don't know how they do it, you know, I just --
    20     that's what they do.
    21                MR. DENSEMO: Okay. I don't have any additional
    22     questions, Your Honor.
    23                THE COURT: Any examination?
    24                MR. WATERSTREET: No, no. Thank you.
    25                THE COURT: All right. You may step down, sir.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2092     Page 20 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          20

      1               (Witness excused at 11:09 a.m.)
      2               THE COURT: Your next witness?
      3               MR. DENSEMO: The next witness, Your Honor, would
      4    be Mr. -- Agent Armentrout.
      5               THE COURT: All right. And which documents do you
      6    have for him?
      7               MR. DENSEMO: One second, Your Honor. I have
      8    e-mails and report -- two reports that were given to me by
      9    the government.
    10                THE COURT: Two reports and one e-mail?
    11                (An off-the-record discussion was held at
    12                11:10 a.m.)
    13                MR. DENSEMO: Just one report, Your Honor.
    14                THE COURT: Okay.
    15                MR. DENSEMO: I can show that to the Court, one
    16     report and one e-mail.
    17                THE COURT REPORTER: Would you please raise your
    18     right hand.
    19                Do you solemnly swear or affirm that the testimony
    20     you are about to give this Court will be the truth, the whole
    21     truth, and nothing but the truth, so help you God?
    22                OFFICER ARMENTROUT: I do.
    23                        OFFICER MITCHELL ARMENTROUT,
    24     called at about 11:11 a.m., was examined and testified on his
    25     oath as follows:


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2093     Page 21 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          21

      1                              DIRECT EXAMINATION
      2    BY MR. DENSEMO:
      3    Q.   Officer Armentrout, would you state your full name for
      4    the record?
      5    A.   Mitchell Armentrout.
      6    Q.   And you're employed with?
      7    A.   Customs and Border Protection.
      8    Q.   And you've testified at the hearing previously in this
      9    case; is that right?
    10     A.   Yes, sir, I did.
    11     Q.   Mr. Armentrout, I'm handing you a document, and I'm
    12     going to ask you if you recognize it?
    13     A.   Yes, sir, I do.
    14     Q.   And what is that?
    15     A.   It's an electronic media report.
    16     Q.   And does that say who generated that report?
    17     A.   It says my name, sir.
    18                THE COURT: Okay. You are going to have to speak
    19     up, sir.
    20     BY MR. DENSEMO:
    21     Q.   It has your name --
    22                THE COURT: Counsel, none of these have been
    23     marked, and I just, for purposes -- in the future they will
    24     have to be marked.
    25                MR. DENSEMO: Okay. That's fine, Judge. So it is


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2094     Page 22 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          22

      1    clear, I will give the Court the two documents that were
      2    presented to Officer Schmeltz, and we would ask that they be
      3    marked Defense's 1A and 1B or however --
      4               THE COURT: You can mark them. I don't need them.
      5    You can just mark them, just so it's in the record.
      6               MR. DENSEMO: All right.
      7               (Defendant's Exhibits 1A and 1B marked for
      8               identification purposes.)
      9    BY MR. DENSEMO:
    10     Q.    And, Officer Armentrout, you indicated that you
    11     generated a report on or about June 27th. Was this
    12     June 27th, 2018 or was this generated earlier?
    13     A.    I'm sorry, sir. I don't have that report in front of
    14     me.
    15     Q.    I will hand you what has been marked as
    16     Defense Exhibit 2A.
    17     A.    The listed incident date is the 16th of August, 2017.
    18     Q.    What date?
    19     A.    The 16th of August, 2017, right here.
    20                THE COURT: The 16th of August?
    21     BY MR. DENSEMO:
    22     Q.    The incident date?
    23     A.    Yes, sir.
    24     Q.    All right. And --
    25                THE COURT: Wait a minute. The incident date is


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2095     Page 23 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          23

      1    August 16th, and the report date is what?
      2    BY MR. DENSEMO:
      3    Q.   You indicated that -- the date, it says June 27th, 2018.
      4    What day is that?
      5    A.   That would have been the day it was printed.
      6                THE COURT: I can't hear you.
      7    A.   The day that the report was printed.
      8                THE COURT: Oh, okay.
      9    BY MR. DENSEMO:
    10     Q.   But the date --
    11                 THE COURT: When was it written?
    12     A.   August 16th, 2017.
    13     BY MR. DENSEMO:
    14     Q.   And on August 16th, 2017, there is a column that says
    15     reason for search; is that right?
    16     A.   Yes, sir.
    17     Q.   And in that column what did you write?
    18     A.   It is a prefilled box; I didn't fill it in, I only
    19     selected from the available options.
    20     Q.   What option did you select, Officer Armentrout?
    21     A.   National security concern, threshold/augment.
    22     Q.   So in this column where it says reason for search, you
    23     wrote NSC, which is shorthand for national security concern?
    24     A.   It's a drop-down menu, sir. That's just the one I
    25     selected.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2096     Page 24 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          24

      1    Q.   I'm not asking you what the menu is, sir. I'm saying
      2    what you wrote or put in the box.
      3    A.   I didn't write that, it's a drop-down menu.
      4    Q.   All right. And you selected --
      5    A.   I did select that one, correct.
      6               THE COURT REPORTER: Hang on. One at a time,
      7    Mr. Densemo.
      8    BY MR. DENSEMO:
      9    Q.   There were a number of options in this drop-down menu;
    10     is that correct?
    11     A.   Yes, sir, they have changed --
    12     Q.   And from that menu you selected national security
    13     concern, threshold/augment; is that right?
    14     A.   I did.
    15     Q.   And this was regarding a person with the last name
    16     Ramadan; is that right?
    17     A.   Yes, sir.
    18     Q.   First name, Yousef?
    19     A.   Yes, sir.
    20     Q.   Country of birth, Palestine?
    21     A.   Yes, sir.
    22     Q.   Country of citizenship, United States?
    23     A.   Yes, sir.
    24     Q.   And you filled your name in, Officer Agent
    25     Mitchell Armentrout?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2097     Page 25 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          25

      1    A.   Yes, I did.
      2    Q.   Approving supervisor, Marvin Stiggerwalt, III?
      3    A.   Yes, sir.
      4    Q.   And in it you detailed some items that were seized or
      5    were turned over to Homeland Security; is that right?
      6    A.   They were detained and turned over to Homeland Security
      7    Investigations, yes, sir.
      8    Q.   I'm handing you what has been marked as
      9    Defense Exhibit 2D. Do you recognize that document?
    10     A.   Yes, sir, I do.
    11     Q.   What is that?
    12     A.   It appears to be an e-mail that I sent to Officer Brown.
    13     Q.   Is it an e-mail that you sent to Officer Brown?
    14     A.   Yes, sir.
    15     Q.   May I? And in that e-mail that you sent to
    16     Officer Brown, do you list the items that were detained,
    17     seized from Yousef Ramadan?
    18     A.   May I see the e-mail again, sir? It's been more than a
    19     year.
    20     Q.   Go right ahead.
    21                THE COURT: What is the date on that e-mail that it
    22     was written?
    23     A.   August 16th, 2017.
    24                THE COURT: Thank you.
    25     A.   Yes, sir. They are the same media items that appear in


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2098     Page 26 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          26

      1    the inspection report.
      2    BY MR. DENSEMO:
      3    Q.   Could you tell us the -- would you read the list of
      4    items on that -- in that e-mail?
      5    A.   Okay. ASUS gaming computer. Would you like me to read
      6    the serial number also?
      7    Q.   No -- yes, you can. Go right ahead.
      8    A.   Serial number Golf 4 Papa Delta Charlie Golf 00111
      9    November. Hitachi hard drive. Toshiba laptop computer,
    10     serial number 6 Echo 038858 Papa. Lenovo laptop computer,
    11     serial number Papa Frank 01 Alpha Kilo Sierra Frank.
    12     09 digital camera. SD cards. External hard drives.
    13     Seagate Backup Plus Drive, serial number November Alpha 7
    14     Tango Kilo 85 November. Toshiba, serial number X-ray 19
    15     Julie Tango Alpha 46 Tango Robert 48. Seagate, serial number
    16     November Alpha 47 Papa Victor 882. There were two additional
    17     external hard drives which I could not access. One DVD disk.
    18     One AT&T SIM card. Four Apple iPhones.
    19     Q.   The ASUS gaming computer, did you search that computer?
    20     A.   It's been more than a year, and I honestly can't tell
    21     you if I turned it on or not.
    22     Q.   The Hitachi hard drive, did you search that computer --
    23     that hard drive?
    24     A.   Laptop or --
    25     Q.   The Hitachi hard drive.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2099     Page 27 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          27

      1    A.   Again, I -- I know I plugged it in. Whether or not I
      2    was able to view what's on it or not, I can't testify to.
      3    Q.   The Toshiba laptop computer?
      4    A.   Again, I can't testify whether or not I was able to
      5    access it or even turned it on.
      6    Q.   Did you search the Lenovo laptop computer?
      7    A.   I can't testify whether or not I even turned it on.
      8    Q.   The 09 digital camera with SD cards.
      9    A.   I believe I looked at those and --
    10     Q.   The Seagate external hard drive.
    11     A.   Yes, sir, I did.
    12     Q.   The Toshiba external hard drive with serial number
    13     SNX19JTA46TR48C?
    14     A.   Again, it's been more than a year, I can't -- and it
    15     was -- I can't tell you if I looked at it or not.
    16     Q.   Did you -- do you recall viewing one DVD disk?
    17     A.   I don't. I may have put it into the disk player, and I
    18     couldn't tell you what was on it if it did come on.
    19     Q.   Did you search one AT&T SIM card?
    20     A.   I -- I honestly don't know. I can't remember.
    21     Q.   Four Apple iPhones?
    22     A.   Oh, the answer is right there.
    23     Q.   I want you to state the answer for the record, Mr. --
    24     Officer Armentrout.
    25     A.   Okay. May I please? As Mr. Ramadan refused the


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2100     Page 28 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          28

      1    passcodes to the phones, I detained them as only one line
      2    item, Apple iPhones.
      3    Q.   So you did not -- you did not view, see -- or see any
      4    information on any iPhone?
      5    A.   That is correct.
      6    Q.   And you indicated that you did review information --
      7    that you do recall seeing or searching one of the Seagate
      8    hard drives; is that correct?
      9    A.   That is correct, yes, sir.
    10     Q.   On August 16th, 2017, did you write that media devices
    11     were detained upon completion of the examination due to the
    12     presence of ISIS propaganda videos, homemade pipe bombs and
    13     videos which Mr. Ramadan stated that he made?
    14     A.   If it appears in the report, yes, sir.
    15     Q.   Is it illegal to have ISIS propaganda videos on
    16     electronic media when departing or entering the
    17     United States?
    18     A.   No, sir.
    19     Q.   Is it against the law to have videos or pictures of
    20     homemade pipe bombs on electronic media when departing or
    21     entering the United States?
    22     A.   No, sir.
    23     Q.   If you know, does a United States citizen have a
    24     First Amendment right to view or listen to propaganda videos
    25     from any organization or group on their private electronic


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2101     Page 29 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          29

      1    media?
      2               MR. WATERSTREET: Objection; argumentative, Your
      3    Honor.
      4               MR. DENSEMO: It's not argumentative.
      5               THE COURT: Overruled. Go ahead.
      6    A.   Yes, sir, they do.
      7    BY MR. DENSEMO:
      8    Q.   Would you find -- would finding propaganda videos on
      9    electronic devices from groups that the United States has
    10     deemed terrorist organizations constitute a violation of any
    11     import or export laws?
    12     A.   Import or export, no, sir.
    13     Q.   Can electronic devices be taken from travelers entering
    14     or leaving the United States simply because they have
    15     pictures or videos of pipe bombs, grenades, silencers,
    16     firearms, missiles, tanks, executions, killing or genocide?
    17     A.   They would be detained for forensic -- they would --
    18     Q.   My question was, can electronic devices be taken from
    19     travelers entering or leaving the United States simply
    20     because they have pictures of video -- or videos of pipe
    21     bombs, grenades, silencers, firearms, missiles, tanks,
    22     executions, killings or genocide?
    23                MR. WATERSTREET: Your Honor, that's what we are
    24     here to find out, if these were properly seized or not, which
    25     is the subject matter of this hearing and is not --


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2102     Page 30 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          30

      1               THE COURT: Sustained.
      2               MR. WATERSTREET: Thank you.
      3    BY MR. DENSEMO:
      4    Q.   Officer Armentrout, do you have any newly discovered
      5    e-mails, text messages, memos or recordings?
      6    A.   Newly discovered?
      7    Q.   Yes. Do you have any e-mails or text messages that you
      8    have discovered that you have not turned over to the
      9    United States Attorney's Office?
    10     A.   No, sir, I have not. I turned over everything that I
    11     was asked for to Supervisor Stiggerwalt in February of this
    12     year.
    13     Q.   In any of the -- the reports that you generated on
    14     August 16th, 2017, you indicate that the cellphone devices
    15     were detained, HSI took under own authority. Who is HSI?
    16     A.   Homeland Security Investigations.
    17     Q.   And you indicate that that was August 16th, 2017; is
    18     that right?
    19     A.   Yes, sir.
    20     Q.   And you indicate additional information, 6051D; what's
    21     that?
    22     A.   6051D it is the detention form.
    23     Q.   It's the what form?
    24     A.   Detention form.
    25     Q.   And why was that generated? Is that a -- is that a part


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2103     Page 31 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          31

      1    of the process of detaining a traveler's personal property?
      2    A.   Yes, sir, it is, it's a receipt.
      3    Q.   That form has to be completed?
      4    A.   It is a receipt for the property, yes, sir.
      5    Q.   Was that form given to Mr. Ramadan?
      6    A.   Yes.
      7    Q.   When was it given to Mr. Ramadan?
      8    A.   I would imagine sometime between 2:30 and 3:30 that
      9    morning.
    10     Q.   Did you give it to Mr. Ramadan?
    11     A.   I can't testify to that.
    12     Q.   So you don't know if he received a receipt or not?
    13     A.   I don't. It was at the end of a very long day.
    14     Q.   I'm sorry. You don't know. Your testimony is that he
    15     was supposed to be given a receipt; is that right? Is it
    16     your testimony that a traveler whose property has been
    17     seized, has been taken, is supposed to receive a receipt from
    18     your office regarding that property?
    19     A.   I didn't seize any of Mr. Ramadan's property, sir.
    20     Q.   Property was taken -- was detained; is that right?
    21     A.   Yes.
    22     Q.   Under your border search authority; is that right?
    23     A.   Actually, according to the report it is under
    24     Homeland Securities --
    25     Q.   But you --


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2104     Page 32 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          32

      1    A.   -- Border --
      2               MR. WATERSTREET: Your Honor --
      3               THE COURT: Just a minute.
      4               MR. WATERSTREET: Can we allow him to answer the
      5    question before --
      6               THE COURT: All right. Wait until he's done with
      7    his answer, Mr. Densemo.
      8               MR. DENSEMO: Okay.
      9               THE COURT: Would you ask your question?
    10     BY MR. DENSEMO:
    11     Q.   All right. Homeland Security -- somebody turned the
    12     property over to Homeland Security, correct?
    13     A.   Homeland did --
    14     Q.   Somebody --
    15                MR. WATERSTREET: Your Honor --
    16                THE COURT: Let him answer. You said correct, so
    17     let him answer.
    18                MR. WATERSTREET: Thank you.
    19     BY MR. DENSEMO:
    20     Q.   Did some person turn the property over to Homeland
    21     Security, yes or no?
    22     A.   Yes, sir.
    23     Q.   Who was that person, and who do they work for?
    24     A.   That was me, and I work for Customs -- myself, and
    25     Customs and Border Protection.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2105     Page 33 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          33

      1    Q.   Okay. What gave you the right to have that property in
      2    the first place?
      3    A.   It was detained under HSI's authority.
      4    Q.   Under HSI's authority?
      5    A.   Yes, sir, that's why I wrote --
      6    Q.   Not your authority?
      7    A.   That's why I wrote under HSI's authority in the report.
      8    Q.   You initially seized the property under Homeland
      9    Security's authority; is that right?
    10     A.   No, sir, I didn't seize anything.
    11     Q.   The property was -- what is the word that you are using
    12     for the taking of Mr. Ramadan's property by you and your
    13     fellow officers?
    14     A.   The form, 6051D --
    15                MR. WATERSTREET: Your Honor --
    16     A.   -- that you inquired --
    17                THE COURT: Wait a minute. I can't -- I can't do
    18     it with everybody talking at once. Okay.
    19                MR. WATERSTREET: Your Honor, may I object?
    20                THE COURT: Yes.
    21                MR. WATERSTREET: Thank you. We are now going back
    22     into rehashing information that was gone over before. This
    23     is beyond the scope of this very limited --
    24                THE COURT: I agree, we have done it before.
    25                MR. WATERSTREET: Thank you.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2106     Page 34 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          34

      1               MR. DENSEMO: Your Honor --
      2               THE COURT: Is there something different?
      3               MR. DENSEMO: I'm just asking him about the report,
      4    Your Honor. I don't know if I'm even rehashing anything.
      5    This officer is being evasive as to what his authority is,
      6    who he works for, and why he seized property.
      7               THE COURT: I don't think he's being evasive at
      8    all, but you may ask specific questions about the report and
      9    the property.
    10     BY MR. DENSEMO:
    11     Q.   In your report you indicate that the ASUS gaming system
    12     computer was detained, HSI took under own authority, correct?
    13     A.   I don't have it in front of me. If you are reading from
    14     my report, the answer is yes.
    15     Q.   Am I correct that that's what your report says?
    16     A.   Yes, sir.
    17     Q.   And, in fact, the items you referenced in
    18     Defense Exhibit 2B, your e-mail to Officer James Brown on
    19     August 16th, 2017, you indicate that the ASUS gaming
    20     computer, the Hitachi hard drive, the Toshiba laptop, the
    21     Lenovo laptop, the 09 camera, digital SD cards, the external
    22     hard drive, one DVD disk, one AT&T SIM card, four Apple
    23     iPhone computers, all of these things were turned over by you
    24     to, I believe it's Agent Keith, on or about August 16th,
    25     2017, and that Agent Keith took possession of these items


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2107     Page 35 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          35

      1    from you under HSI's authority; is that right?
      2    A.   That is correct.
      3    Q.   And in your report, on page 12, did you indicate in your
      4    report that Mr. Ramadan would not give his passcodes to his
      5    cellphone, and he was very uncooperative throughout the
      6    process?
      7    A.   I don't have the report in front of me, sir.
      8    Q.   Look at the checkmark.
      9    A.   Yeah, yes, sir, that's what the report says.
    10     Q.   That he was uncooperative throughout the process; is
    11     that right? That's what your report says?
    12     A.   Yes, sir, it does.
    13     Q.   And in your report, on page 13, you again list all of
    14     the items that were contained in your August 16th e-mail to
    15     Officer Brown; is that right?
    16     A.   Yes, sir.
    17     Q.   And in your report, on page 10, you indicate that the
    18     media devices were retained upon completion of the
    19     examination due to the presence of ISIS propaganda videos,
    20     and homemade pipe bomb pictures and videos, which Mr. Ramadan
    21     stated that he had made; is that right?
    22     A.   Yes, sir.
    23     Q.   Who detained them?
    24                MR. WATERSTREET: Asked and answered, Your Honor.
    25                THE COURT: Overruled.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2108     Page 36 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          36

      1    A.   Are you asking who physically --
      2    BY MR. DENSEMO:
      3    Q.   I'm asking who -- you used the word detained, who
      4    detained?
      5    A.   Physically detained or signed the chain of custody form
      6    for, under their direction?
      7    Q.   Both.
      8    A.   I physically detained them --
      9    Q.   Okay. Thank you.
    10     A.   -- at the direction --
    11     Q.   That answers my question.
    12                 MR. WATERSTREET: Your Honor --
    13                 THE COURT: Let him finish his answer.
    14                 MR. WATERSTREET: -- let him --
    15                 THE COURT: Go ahead, sir.
    16     A.   At the direction of Homeland Security Investigations.
    17                 MR. DENSEMO: I think I'm almost done, Your Honor.
    18     I believe I'm done, Your Honor. One second, Your Honor. I'm
    19     sorry.
    20                 (An off-the-record discussion was held at
    21                 11:33 a.m.)
    22     BY MR. DENSEMO:
    23     Q.   On page 12 of your report, Officer Armentrout, you
    24     indicate that this is -- the external hard drive was shown to
    25     HSI between 1:00 and 1:35 to FBI agents; is that right? It's


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2109     Page 37 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          37

      1    at the bottom.
      2    A.   Yes, sir.
      3    Q.   The report reads, "Seagate Backup Plus Drive, this one
      4    contained all of the ISIS propaganda and pipe bomb photos,
      5    and was reviewed from 2222 on August 15th, 2017, until 1220
      6    on August 16th, 2017; is that right?
      7    A.   You took it before I could memorize the dates. If
      8    that's what it says.
      9    Q.   Is that right? The one at the bottom.
    10     A.   Is this the one here you are asking me about, this one
    11     here?
    12     Q.   It is highlighted.
    13     A.   Yes, sir.
    14     Q.   Okay. You finished by saying, this external hard drive
    15     is viewed again from 0100 until 0135 to show the images to
    16     FBI and HSI special agents; is that right?
    17     A.   That is correct.
    18     Q.   In your reports, did you list the amount of money or
    19     gold that was on Mr. Ramadan?
    20                MR. WATERSTREET: Your Honor, I believe we have
    21     been talking about electronic media report, and this is all
    22     about the electronic media. He's going beyond the scope.
    23                MR. DENSEMO: I'm asking him if it was in his
    24     report, Your Honor; did he list any of these items in the
    25     reports -- the two reports.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2110     Page 38 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          38

      1                THE COURT: Overruled. You can answer the
      2    question.
      3    A.   I didn't read the report again this morning.
      4    BY MR. DENSEMO:
      5    Q.   Do you recall listing -- do you recall writing anything
      6    about gold or money being examined in your reports?
      7    A.   Off the top of my head, I don't recall, sir.
      8    Q.   You don't recall any amounts of money -- there is
      9    nothing your report -- in the report that I've shown you this
    10     morning about any gold or money being on Mr. Ramadan's
    11     person; is that right?
    12     A.   I didn't read the entire report this morning.
    13                 MR. DENSEMO: I don't have anything additional,
    14     Your Honor.
    15                 MR. WATERSTREET: May I, Your Honor?
    16                 THE COURT: Yes.
    17                 MR. WATERSTREET: Okay. Thank you.
    18                                CROSS-EXAMINATION
    19     BY MR. WATERSTREET:
    20     Q.   Officer Armentrout, you've been asked some very specific
    21     questions about particular items that you may or may not have
    22     reviewed during your -- during the review of the electronic
    23     media that was in Mr. Ramadan's possession?
    24     A.   Yes, sir.
    25     Q.   And within your report, were you -- did you detail what


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2111     Page 39 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          39

      1    items you did review, were able to review, approximately how
      2    long it took you to review them?
      3    A.   Yes, sir, I did.
      4    Q.   Okay. Would it refresh your memory if you were given a
      5    copy of that report, or the incident log report, that would
      6    identify what items you looked at, how long you looked at
      7    them and things of that nature?
      8    A.   Although the incident report and the report I wrote
      9    share some similar information, the one that I actually wrote
    10     would be more beneficial.
    11     Q.   Okay.
    12                MR. WATERSTREET: What exhibit is this?
    13                MR. DENSEMO: Which one are you talking about?
    14                MR. WATERSTREET: The electronic media report.
    15                MR. DENSEMO: Yes.
    16                MR. WATERSTREET: Did you mark that?
    17                MS. FITZHARRIS: 2A.
    18                MR. MARTIN: It's 2A.
    19                MR. DENSEMO: I'm sorry, give me a second, Ron.
    20     I'm missing a page -- I'm missing the beginning pages. 1B,
    21     1A, 2B. Where is 2A? Did I give it to you?
    22                MS. FITZHARRIS: No, I have my own version.
    23                (An off-the-record discussion was held at
    24                11:40 a.m.)
    25


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2112     Page 40 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          40

      1    BY MR. WATERSTREET:
      2    Q.   I'm going to show you what has been recently marked as
      3    2A, but this is a copy. Can you look on that electronic
      4    media report and identify what items you did review?
      5    A.   Yes, sir.
      6    Q.   And does that help refresh your memory as to when
      7    counsel was asking you what items you may have reviewed that
      8    evening or that morning?
      9    A.   Yes, sir.
    10     Q.   And can you tell the Court what items you did review and
    11     which ones you were able to review?
    12     A.   I reviewed the Seagate Backup Plus, and that was --
    13     Q.   And what serial number was that?
    14     A.   That is November Alpha 7 Tango Kilo 85 November.
    15     Q.   Would you identify just briefly some of the items that
    16     you found on there?
    17     A.   That contained ISIS propaganda and pipe bomb photos.
    18     Q.   And you viewed that from 22:22 on 15 AUG 2017 until
    19     12:20 on 16 August 2017?
    20     A.   It should have read 00:20, but, yes, 12:20 a.m.
    21     Q.   So that was a mistake on your part?
    22     A.   Yes, sir, it was early in the morning.
    23     Q.   Okay. So basically from 10:22 in the evening on the
    24     15th until about 12:20 in the morning on the 16th?
    25     A.   Yes, sir.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2113     Page 41 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          41

      1    Q.   Okay. And then this same external hard drive was viewed
      2    again from when to when?
      3    A.   01:00 to 01:35.
      4    Q.   They were shown to whom?
      5    A.   FBI and HSI agents that were on the scene.
      6    Q.   Now, the information that we've just gone over is not
      7    something that was brought --
      8               MR. DENSEMO: Objection, Your Honor; it's leading.
      9               THE COURT: It is cross. Go ahead.
    10     BY MR. WATERSTREET:
    11     Q.   Well, it was brought to defense's attention; this was
    12     part of the initial incident log query that was provided for
    13     the benefit of the Court on August 29th, 2017?
    14                MR. DENSEMO: Objection, Your Honor; it's not a
    15     question, it's argument.
    16                MR. WATERSTREET: I'm providing this information to
    17     the Court.
    18                THE COURT: I will take it though, this is a
    19     hearing.
    20     BY MR. WATERSTREET:
    21     Q.   This exact same information that's contained in the
    22     electronic media report was in this report that if you accept
    23     my proffer of being provided?
    24                THE COURT: How would he know though? Why is he
    25     being asked this question?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2114     Page 42 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          42

      1    BY MR. WATERSTREET:
      2    Q.   It's the same material, correct? If I showed a copy of
      3    that, you would be able to identify what items you reviewed
      4    and when you reviewed them?
      5    A.   Yes, sir.
      6    Q.   Okay. Particularly going to page 3 of the incident log
      7    report, can you compare those incident log reports to the
      8    media report, and doesn't -- is it the exact same
      9    information, and the exact same typographical error with the
    10     time?
    11     A.   Yes, sir, it does.
    12     Q.   So they are one in the same?
    13     A.   The information contained is identical, yes, sir.
    14     Q.   With the same typo?
    15     A.   Yes, sir.
    16     Q.   Okay. And electronic media report, is an electronic
    17     media report a document that lists everything that the
    18     defendant had in his possession that day other than
    19     electronic media? For example, I noted there wasn't the body
    20     armor on that report --
    21                MR. DENSEMO: Your Honor, he's --
    22     BY MR. WATERSTREET:
    23     Q.   -- as being seized?
    24                MR. DENSEMO: Excuse me, Your Honor. I object as a
    25     compound question.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2115     Page 43 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          43

      1               MR. WATERSTREET: Okay.
      2               THE COURT: Sustained.
      3    BY MR. WATERSTREET:
      4    Q.   Is it -- it's called an electronic media report. What
      5    is an electronic media report?
      6    A.   It's a report for accountability of any electronic media
      7    items that I view.
      8    Q.   So when you ask a question about money or jewelry not
      9    being in that report, is that something that would appear in
    10     an electronic media report?
    11     A.   No, sir.
    12     Q.   Okay. Because as you've testified previously, there
    13     were an number of other items like the body armor, the gas
    14     mask, the gun holsters, the gun scopes and things of that
    15     nature, that is not -- does not appear in the electronic
    16     media report, does it?
    17     A.   No, sir.
    18     Q.   Okay. And then the question about reason -- reason for
    19     the search. You were trying to explain this drop-down menu.
    20     Can you explain to the Court what choices you have in this --
    21     I don't imagine you memorized the entire drop-down menu.
    22     A.   I don't, and they have changed in the last two years
    23     that it's existed.
    24     Q.   But based upon the fact that you found the body armor,
    25     you are aware of the body armor, you had conversations with


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2116     Page 44 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          44

      1    the defendant, you reviewed all of the electronic media. Did
      2    you try to pick the drop -- the selection from the drop-down
      3    menu that seemed appropriate or closest as possible to what
      4    situation you were dealing with?
      5    A.   Based on the totality of the circumstances with the
      6    images viewed and the physical items that were there, I tried
      7    to make the best available choice.
      8    Q.   Okay. Thank you.
      9                             REDIRECT EXAMINATION
    10     BY MR. DENSEMO:
    11     Q.   And, in your opinion, the best available choice was
    12     national security concerns?
    13     A.   Yes, sir.
    14                THE COURT: All right. You may step down, sir.
    15     Thank you.
    16                (Witness excused at 11:47 a.m.)
    17                THE COURT: Defense, any other --
    18                MR. DENSEMO: Yes, Your Honor. We would like to
    19     call Agent -- I think I would like Agent -- I will take
    20     Agent Kelley next.
    21                THE COURT: All right. While he's coming in, what
    22     documents are you referring to?
    23                MR. DENSEMO: Just one, Your Honor.
    24                THE COURT: Okay.
    25                MR. DENSEMO: I would like to have that marked so I


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2117     Page 45 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          45

      1    can keep track of it. It's Exhibit 2C.
      2                THE COURT: You can submit all of these to the
      3    Court when we are done with the hearing.
      4                THE COURT REPORTER: Would you please raise your
      5    right hand.
      6                Do you solemnly swear or affirm that the testimony
      7    you are about to give this Court will be the truth, the whole
      8    truth, and nothing but the truth, so help you God?
      9                AGENT KELLEY: I do.
    10                             AGENT PATRICK KELLEY,
    11     called at about 11:48 a.m., was examined and testified on his
    12     oath as follows:
    13                                DIRECT EXAMINATION
    14     BY MR. DENSEMO:
    15     Q.   Agent Kelley, good morning. How are you?
    16     A.   Good morning.
    17     Q.   Agent Kelley, give us your full name, for the record.
    18     A.   Patrick Kelley.
    19     Q.   And you've testified previously in this hearing, haven't
    20     you, agent?
    21     A.   Yes, sir.
    22     Q.   And you participated in the investigation or questioning
    23     of Yousef Ramadan on August 15th, 2017?
    24     A.   Yes.
    25     Q.   All right.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2118     Page 46 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          46

      1               THE COURT: Just to refresh my memory, what agency
      2    do you work for?
      3    A.   Homeland Security Investigations.
      4               THE COURT: Thank you.
      5    BY MR. DENSEMO:
      6    Q.   And not to rehash too much of this but, Agent Kelley,
      7    you were where when you got the call to come to the airport?
      8    A.   At my residence.
      9    Q.   Okay. And you got a call and you responded to the
    10     Detroit Metro Airport?
    11     A.   Correct.
    12     Q.   All right. And do you recall who contacted you?
    13                MR. WATERSTREET: Objection, Your Honor; this has
    14     been asked and answered before.
    15                MR. DENSEMO: That's fine, that's fine, Judge,
    16     that's fine.
    17                THE COURT: No. I would like to hear this because
    18     I think it could relate to this document.
    19                MR. DENSEMO: It does.
    20                THE COURT: So you may answer the question.
    21     A.   Supervisor CBP Salinas.
    22     BY MR. DENSEMO:
    23     Q.   Did you have a -- did you have a phone call or exchange
    24     any text messages or e-mails with Officer Michael Thomas?
    25     A.   When is -- when are you referring to?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2119     Page 47 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          47

      1    Q.   After you left your home and you were on your way to the
      2    airport, did you have contact with Agent Thomas?
      3    A.   At the airport.
      4    Q.   All right. I'm going to hand you a document that has
      5    been marked Defense Exhibit 2C.
      6    A.   Okay.
      7    Q.   Do you recognize that document?
      8    A.   Yes.
      9    Q.   And what is that?
    10     A.   A text message.
    11     Q.   From whom to whom?
    12     A.   From me to my group supervisor.
    13     Q.   Who might that be?
    14     A.   Agent Desmerits (phonetic).
    15     Q.   Desmerits?
    16     A.   Yes.
    17     Q.   Okay. Why don't you hold on to that. And do you see
    18     the time on that text message?
    19     A.   Yes.
    20     Q.   What time is that?
    21     A.   It says 11:05 p.m.
    22     Q.   11:05? May I see that again? I'm sorry.
    23                 There is a time of 10:02 a.m. -- I'm sorry, that is
    24     a.m., so that was earlier in the morning regarding this DD?
    25     Is this your phone?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2120     Page 48 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          48

      1    A.   I see 11:05 p.m. for the text.
      2    Q.   All right.
      3    A.   Correct.
      4    Q.   And that was Tuesday, August 15th? That's what it says,
      5    right, Tuesday, August 15th, 11:05?
      6    A.   Yes.
      7    Q.   All right. And in the text did you write, "here now" or
      8    did somebody else write "here now"?
      9    A.   The darker -- the first text is my writing.
    10     Q.   Is what?
    11     A.   The first text on the top is my writing.
    12     Q.   Is your --
    13     A.   My text.
    14     Q.   Is your text?
    15     A.   I wrote the text, correct.
    16                 THE COURT: Is that the text that starts "here
    17     now"?
    18                 MR. DENSEMO: Yes.
    19                 THE COURT: Okay.
    20     BY MR. DENSEMO:
    21     Q.   Okay. And is that in response to a question? A -- is
    22     that -- that "here now" is an answer to a question; is that
    23     right?
    24     A.   No, it is me saying I'm here now.
    25     Q.   Okay. So you just voluntarily -- this was not in


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2121     Page 49 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          49

      1    response to a question?
      2    A.   No.
      3    Q.   When you arrived, you texted Desmerits?
      4    A.   My acting supervisor.
      5    Q.   You texted him that you're here now?
      6    A.   Yes.
      7    Q.   All right. Did he text you back?
      8    A.   The --
      9    Q.   The "okay" is his?
    10     A.   Yes.
    11     Q.   Okay. So this conversation is between you and your
    12     supervisor, correct?
    13     A.   The texts, yes.
    14     Q.   These one, two, three, four, five, six text boxes that
    15     appear in Defense Exhibit 2C are exchanges between you and
    16     your supervisor, is that right, just so we know?
    17     A.   My supervisor Desmerits, right, yes.
    18     Q.   That's right. All of this is you and Desmerits?
    19     A.   Yes.
    20                 THE COURT: Can I see it, please?
    21                 MR. WATERSTREET: Your Honor, I can give you my
    22     copy so the Court has it while they are discussing this
    23     matter.
    24                 THE COURT: Okay. Thank you.
    25


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18     PageID.2122     Page 50 of 149
                               Evidentiary Hearing • September 12, 2018
                                                                                           50

      1    BY MR. DENSEMO:
      2    Q.     Let me give this back to you so you can see it.
      3    A.     Yes, sir.
      4    Q.     Okay.
      5                  THE COURT: Counsel, counsel, did you mark this for
      6    the record so we have a --
      7                  MR. DENSEMO: Yes, I think it is 2C, Your Honor,
      8    yes.
      9                  THE COURT: 2C?
    10                   MR. DENSEMO: Yes, it's 2C.
    11                   THE COURT: Thank you.
    12     BY MR. DENSEMO:
    13     Q.     So when you arrive you write "here now"; is that right?
    14     A.     This exchange was when I was in the interview room.
    15     Q.     Okay. So you are -- you are in the interview room and
    16     you are texting this to your supervisor, is that where we
    17     are, right?
    18     A.     Yes.
    19     Q.     All right. And in the text message you also write that
    20     CBP was going to seize body armor plates, Taser; is that
    21     right?
    22     A.     Yes.
    23     Q.     You wrote -- you wrote that the plan so far is for
    24     Thomas to forward results to the Israelis after we're done;
    25     is that right?


                                    U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2123     Page 51 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          51

      1    A.   Yes.
      2    Q.   So was this plan formulated before you met with
      3    Agent Thomas or was this plan formulated during the course of
      4    the questioning?
      5    A.   This is discussions before the interview began.
      6    Q.   So even before the interview began, a plan had been
      7    developed to notify the Israeli government about
      8    Mr. Ramadan's return to Palestine?
      9    A.   I don't know who with the Israelis.
    10     Q.   Pardon me?
    11     A.   I don't know who with the Israelis. You say the Israeli
    12     government, I don't know.
    13     Q.   Okay. So let's go back. The plan so far is for Thomas
    14     to forward results to the Israelis after we're done, right?
    15     That's what's in your text message, right?
    16     A.   Yes.
    17     Q.   And we're going -- is it fair to assume that by Israelis
    18     you mean some branch of the Israeli government or law
    19     enforcement; is that a fair --
    20     A.   The FBI would contact somebody with the Israelis, that's
    21     what I knew.
    22     Q.   All right. And, again, being a law enforcement officer,
    23     a fair assumption here is that these law enforcement
    24     communities would be communicating about this; is that right?
    25     A.   Federal law enforcement has contacts internationally; so


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2124     Page 52 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          52

      1    different countries, we have contacts.
      2    Q.   Agent Kelley, tell the Court -- tell the Court what you
      3    discussed with -- let's make it real easy. What did you say
      4    and what did Thomas say about this plan?
      5    A.   I don't remember what I wrote in the text.
      6    Q.   But the plan had been developed even before the
      7    questioning of Mr. Ramadan began, is that what you just said?
      8    A.   I sent this text before --
      9    Q.   No, no. I'm saying the plan had been developed. You
    10     indicated that this plan had been developed even before the
    11     questioning of Mr. Ramadan began; is that right?
    12     A.   I sent the text "the plan so far is for Thomas to
    13     forward results to the Israelis after we're done."
    14     Q.   And now my question, this plan had been developed before
    15     the questioning of Mr. Ramadan had begun?
    16     A.   Conversations between Thomas and I, that's the results
    17     of the conversation we had.
    18     Q.   Did the conversation between you and Thomas take place
    19     before the questioning of Mr. Ramadan had begun?
    20     A.   Yes.
    21     Q.   Do you recall -- do you recall when you and Agent Thomas
    22     had agreed upon this course of action, or when had you
    23     been -- do you recall when you and Agent Thomas had agreed
    24     upon this course of action, what time was it?
    25     A.   I don't remember.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2125     Page 53 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          53

      1    Q.   Do you know when you began questioning Mr. Ramadan?
      2    A.   The exact time, no, I don't remember.
      3    Q.   When had you been instructed to pursue this course of
      4    action, to contact the Israelis following your interview of
      5    Mr. Ramadan?
      6    A.   I was never instructed to contact the Israelis.
      7    Q.   So this was a plan developed by you and Thomas? Yes?
      8    If you hadn't been instructed --
      9    A.   This text was result of a conversation between --
    10     Q.   Excuse me, but --
    11                MR. WATERSTREET: Your Honor, can he answer the
    12     question, please?
    13                THE COURT: All right. Go ahead.
    14     A.   The text I sent was the result of the conversation I had
    15     with Agent Thomas.
    16     BY MR. DENSEMO:
    17     Q.   Okay. So the plan -- this plan about contacting
    18     Israelis was a plan that you and Thomas came up with; is that
    19     right? Yes or no.
    20     A.   We had discussions, Agent Brown, Agent Thomas, myself.
    21     Q.   Okay. So the three of you came up with this plan? Yes?
    22     A.   That was what we discussed, this is what I notified my
    23     supervisor of.
    24     Q.   Okay. So no one instructed you to pursue this course of
    25     action, and you weren't following any orders to do so?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2126     Page 54 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          54

      1    A.   No.
      2    Q.   Your interrogation of Mr. Ramadan, was one of the
      3    purposes -- was one of the purposes to extract information
      4    from him that would aid the Israelis in identifying potential
      5    threats to their security?
      6    A.   Ah --
      7    Q.   Do you want me to repeat my question?
      8    A.   Yes.
      9    Q.   Was one of the purposes of your interrogation of
    10     Mr. Ramadan to extract information from him that would aid
    11     the Israelis in identifying potential threats to their
    12     security?
    13     A.   It was an interview questioning of Mr. Ramadan, and --
    14     that wasn't my main focus. It was --
    15     Q.   So it was one of your focuses? It may not --
    16     A.   My focus was the -- him having the items that he had
    17     with him that evening, and why, and where, and how they were
    18     with him, and why he was taking them out of the country.
    19     Q.   So it wasn't your main focus, but it was one of your
    20     focuses; is that a fair statement, Agent Thomas -- I mean,
    21     Agent Kelley?
    22     A.   It --
    23     Q.   Was it -- was it one of your purposes?
    24     A.   If he had information that was relative to the Israelis.
    25     Q.   And their security?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2127     Page 55 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          55

      1                THE COURT: Are you asking him if he was trying to
      2    get information specifically that would be helpful to the
      3    Israelis, like he was working for the Israelis?
      4                MR. DENSEMO: No, Your Honor. The question I asked
      5    was, was one of the purposes of the interview -- he -- the
      6    e-mail said a plan had been developed to forward the
      7    information to the Israeli -- to the Israelis. It seems
      8    logical then that they would want to extract information that
      9    may benefit a U.S. ally, that may be helpful to a U.S. ally.
    10     And I believe Agent Kelley has indicated it wasn't his main
    11     purpose, but it was one of the purposes.
    12                 THE COURT: Could you --
    13                 MR. WATERSTREET: No, no.
    14                 THE COURT: Just a minute. Could you, agent, state
    15     what you had in mind regarding the Israelis at that point, if
    16     anything?
    17     A.   Discussions with Agent Thomas before, one of the
    18     ideas -- one of the -- if information was relevant, that the
    19     FBI would contact somebody with the Israelis with
    20     information.
    21                 THE COURT: Okay.
    22                 MR. DENSEMO: Thank you, Your Honor.
    23     BY MR. DENSEMO:
    24     Q.   If you know, pursuant to your plan, as outlined in your
    25     text message, did Agent Thomas give the Israelis information


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2128     Page 56 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          56

      1    that was developed during the interrogation of Mr. Ramadan?
      2    A.   I don't know.
      3    Q.   Did you or anyone in your office, pursuant to your plan,
      4    contact any member of the Israeli government regarding the
      5    interrogation of Yousef Ramadan?
      6    A.   I can answer to myself; I did not.
      7    Q.   Do you know if any officer with whom you are associated
      8    did so?
      9    A.   In my agency?
    10     Q.   Yes.
    11     A.   I don't know, not that I know of.
    12     Q.   So you don't know anything about when the information
    13     may have been forwarded to the Israeli government?
    14     A.   I don't.
    15     Q.   If you know, did the Israelis place Mr. Ramadan's name
    16     on a watch list pursuant to the information that may have
    17     been provided?
    18                 MR. WATERSTREET: Your Honor, with all due respect,
    19     what's the relevancy as to what --
    20                 THE COURT: Sustained.
    21     BY MR. DENSEMO:
    22     Q.   You indicated in the -- in the -- what's been marked as
    23     Defense Exhibit 2C, there's a question from your supervisor,
    24     "Does he appear to be psycho?" Is that right?
    25     A.   Correct.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2129     Page 57 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          57

      1    Q.   And you respond, "Possibly. Security guard, moving all
      2    of their stuff to Bethlehem." Is that right?
      3    A.   That's correct.
      4    Q.   That's because Mr. Ramadan had told you he was a
      5    security guard?
      6    A.   He had not told me, no.
      7    Q.   How did you find out he was a security guard?
      8    A.   Discussions with the agents.
      9    Q.   Which agents?
    10     A.   Agent Thomas, Agent Brown.
    11     Q.   And you received an e-mail -- I mean -- I'm sorry, a
    12     text from your supervisor saying, "Get the hell out of there
    13     and get some rest." And would have that been on August 16th
    14     at 3:57 a.m. -- no, it says 3:57 p.m.
    15     A.   No.
    16     Q.   Do you know what time you got this e-mail from Desmerits
    17     telling you to get out of there and get some rest?
    18     A.   I don't know the exact time.
    19     Q.   Do you have any other e-mails or text messages that
    20     you've discovered since the last time you testified?
    21     A.   No.
    22     Q.   Have you looked for any new e-mails -- have you been
    23     asked to look for any new e-mails or text messages?
    24                MR. WATERSTREET: Your Honor, we are now going into
    25     other issues that the Court said was inappropriate.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2130     Page 58 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          58

      1                THE COURT: Sustained.
      2                MR. DENSEMO: All right. I do not have any
      3    additional questions for Agent Kelley, Your Honor.
      4                THE COURT: Okay. Cross, government?
      5                MR. WATERSTREET: Thank you, Your Honor.
      6                THE COURT: All right. You may step down. Thank
      7    you, sir.
      8    A.   Thank you.
      9                (Witness excused at 12:06 p.m.)
    10                 THE COURT: Next?
    11                 MR. DENSEMO: Next we would like to call
    12     Officer Brown, Your Honor.
    13                 THE COURT: Okay. Whose document is this? Jim, is
    14     this yours or --
    15                 THE LAW CLERK: The government's.
    16                 THE COURT: I'm sorry. The documents regarding
    17     Mr. Brown?
    18                 MR. DENSEMO: There are four e-mails, Your Honor.
    19                 THE COURT: And you've marked them?
    20                 MR. DENSEMO: I'm showing him three, Your Honor.
    21                 THE COURT: Okay.
    22                 THE COURT REPORTER: Would you please raise your
    23     right hand.
    24                 Do you solemnly swear or affirm that the testimony
    25     you are about to give this Court will be the truth, the whole


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2131     Page 59 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          59

      1    truth, and nothing but the truth, so help you God?
      2               OFFICER BROWN: I do.
      3                            OFFICER JAMES BROWN,
      4    called at about 12:07 p.m., was examined and testified on his
      5    oath as follows:
      6                               DIRECT EXAMINATION
      7    BY MR. DENSEMO:
      8    Q.   Officer Brown, state your full name, please.
      9    A.   James Eric Brown.
    10     Q.   And with whom are you employed?
    11     A.   I am a CBP -- Customs and Border Protection officer.
    12     Q.   August 15th, 2017, you were a part of an investigation
    13     regarding Yousef Ramadan, were you not?
    14     A.   At this point I don't exactly remember the date, but
    15     somewhere in August I was there, yes.
    16     Q.   Okay. During the course of that investigation,
    17     following the questioning of Mr. Ramadan, you sent e-mails to
    18     a number of individuals such as John Kruczek; is that right?
    19     A.   John Kruczek, yes, sir.
    20     Q.   Nicholas Zambeck?
    21     A.   Nick Zambeck, yes, sir.
    22     Q.   All right. And on August 30th, 2017, at about
    23     9:31 a.m., you sent an e-mail to John Kruczek, did you not?
    24     A.   I don't recall the date or the time.
    25     Q.   I'm handing you an e-mail to see if you recognize that.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2132     Page 60 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          60

      1    A.   Yes, I do.
      2    Q.   And what is that?
      3    A.   That is a -- basically a -- just a statement of what
      4    was --
      5    Q.   Is that an e-mail?
      6    A.   Oh, yeah, it is an e-mail, yes.
      7    Q.   From?
      8    A.   From me.
      9    Q.   To?
    10     A.   Mr. Kruczek.
    11     Q.   At what time?
    12     A.   9:31 a.m.
    13     Q.   All right. And in that e-mail you stated Mr. Ramadan
    14     was very uncooperative throughout the process; is that right?
    15     A.   Can I take a second to read it?
    16     Q.   Go right ahead.
    17     A.   This is a cut-and-paste e-mail.
    18     Q.   I'm asking you, in your e-mail --
    19     A.   Right.
    20     Q.   -- to Kruczek --
    21     A.   Uh-huh.
    22     Q.   -- does that e-mail state that Mr. Ramadan was very
    23     uncooperative throughout the process? Yes or no.
    24     A.   I'm still trying to find that. Sir, forgive me, but I
    25     don't see where it says that he was not cooperative


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2133     Page 61 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          61

      1    throughout the whole process.
      2    Q.   All right. Read the last line, read it out loud.
      3    A.   Oh, there it is. "Mr. Ramadan would not give his
      4    passcode for his phones. He was very uncooperative
      5    throughout the process." Yes, sir.
      6    Q.   Thank you.
      7    A.   Uh-huh.
      8    Q.   May I?
      9    A.   Sure.
    10     Q.   In this same e-mail you wrote that Mr. Ramadan stated
    11     that he will not answer any more questions and became
    12     aggressive, and, again, was placed in restraints, and when he
    13     calmed down he was taken out; is that right?
    14     A.   That's what that e-mail states, yes.
    15     Q.   All right. Now, were you in the interview room with
    16     Officer Schmeltz and Mr. Ramadan when Officer Schmeltz
    17     handcuffed him the first time?
    18     A.   Negative.
    19     Q.   Did you assist Officer Schmeltz in handcuffing
    20     Mr. Ramadan?
    21     A.   Did not.
    22     Q.   Did you see Officer Schmeltz remove handcuffs from
    23     Mr. Ramadan the first time?
    24     A.   I did not, sir.
    25     Q.   On August 28th, 2017, you responded to an e-mail from


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2134     Page 62 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          62

      1    Nicholas Zambeck, did you not?
      2    A.   I, again, don't remember the date, but, yes, I do
      3    remember responding to an e-mail from Mr. Zambeck.
      4    Q.   And in his e-mail to you Mr. Zambeck asked, "What
      5    passport was Mr. -- was Ramadan traveling on, when?"
      6    A.   Yes, he did.
      7    Q.   In your response you reply, "his passport"?
      8    A.   His U.S. --
      9    Q.   U.S. passport?
    10     A.   His U.S. passport, yes, sir.
    11     Q.   Did Mr. Zambeck's e-mail end as it appears here with an
    12     incomplete question, or was there -- or were there more words
    13     that have been deleted or left out of the message that he
    14     sent to you?
    15     A.   Could you repeat that question, please?
    16                MR. WATERSTREET: Your Honor, we have already gone
    17     through the redaction process, and the Court has already
    18     reviewed the original document compared to the redacted
    19     document and said all the redactions were appropriate because
    20     they did not relate to the matter at hand. Now he's asking
    21     about the redactions the government made that the Court
    22     already approved.
    23                MR. DENSEMO: Well, I didn't know that these --
    24                THE COURT: I don't --
    25                MR. DENSEMO: I don't recall this being redacted,


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2135     Page 63 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          63

      1    Your Honor.
      2                THE COURT: Was there a redaction on there?
      3                MR. DENSEMO: This is the document that we
      4    received, Your Honor.
      5                THE COURT: Excuse me. Is there a redaction on
      6    there?
      7                MR. DENSEMO: This is the document we received,
      8    Your Honor. I don't know if it was blacked out as this one
      9    had been.
    10                 MR. WATERSTREET: The question is what passport was
    11     Ramadan traveling on when? And the answer was A U.S.
    12     passport. If there's other items that were not subject of
    13     his testimony, they were not provided. And as we went over
    14     before, Your Honor, there are other sensitive matters
    15     concerning other investigations and -- -
    16                 THE COURT: All right. But this doesn't show any
    17     blackout. Is there anything else on this e-mail from this
    18     date?
    19                 MR. WATERSTREET: I don't have that, Judge, because
    20     I don't have that with me.
    21                 MR. DENSEMO: And, again, Judge, I did not ask
    22     Officer Brown what was in the e-mail. I asked him were there
    23     other information.
    24                 THE COURT: All right, I will take the answer.
    25     A.   Can you repeat the question, sir?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2136     Page 64 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          64

      1               THE COURT: If he knows?
      2    BY MR. DENSEMO:
      3    Q.   Did Mr. Zambeck's e-mail end -- I will show you. Do you
      4    recall one -- do you recall Zambeck sending you that e-mail?
      5    A.   I do, sir.
      6    Q.   Did Mr. Zambeck's e-mail end as it appears here with an
      7    incomplete question, or were there more words that have been
      8    deleted or left out of the message that he sent to you?
      9    A.   This was the way it was sent to me. There was nothing
    10     deleted.
    11     Q.   So it ended, when?
    12     A.   Yes, sir.
    13     Q.   So you knew what Zambeck was talking about even though
    14     he did not make a complete sentence?
    15     A.   I did, and that's why I responded with his
    16     U.S. passport.
    17     Q.   Okay.
    18     A.   Do you want this back?
    19     Q.   Yeah, if you don't mind. And that was
    20     Defense Exhibit 2E, Your Honor.
    21                Handing the witness Defense Exhibit 2F. On
    22     August 23rd, 2017, you received an e-mail from John Kruczek;
    23     is that right?
    24     A.   Yes, sir.
    25     Q.   In it he asks what's the subject's name; is that right?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2137     Page 65 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          65

      1    A.   Yes, sir.
      2    Q.   You reply "Yousef Ramadan"; is that right?
      3    A.   Yes, sir.
      4    Q.   How did you know what subject he was talking about?
      5    A.   We had a phone call -- a message -- or talked -- I
      6    talked to him on the phone earlier before that.
      7    Q.   Okay. Were there other e-mails, texts or phone calls
      8    between you and Kruczek before these e-mails were exchanged?
      9    A.   Not to my knowledge, no, sir.
    10     Q.   Okay. Do you have any other e-mails -- newly discovered
    11     e-mails, text messages, memos or recordings that have been --
    12     that you -- that had not -- that have not been previously
    13     turned over to the government or the defense?
    14     A.   No, sir, I do not.
    15                MR. WATERSTREET: Your Honor, if I may, that were
    16     the subject matter of the witness's testimony for this
    17     particular proceeding. I imagine there are some more e-mails
    18     concerning other parts of the investigation that happened way
    19     after these events, but I want to make sure that counsel is
    20     asking that question. Is that correct, Counsel?
    21                MR. DENSEMO: I wasn't listening to what you were
    22     saying.
    23                MR. WATERSTREET: Well, what was your question
    24     directed at, for this subject matter of his testimony here,
    25     or any other e-mails?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2138     Page 66 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          66

      1               MR. DENSEMO: Well, I don't think I have to respond
      2    to you. I think you can make an objection.
      3               MR. WATERSTREET: I am making an objection, and
      4    asking for a particularized -- to have him narrow his
      5    question, Your Honor, so that we all understand what the
      6    question is.
      7               THE COURT: Well, he asked him if there were any
      8    other e-mails.
      9               MR. DENSEMO: Any newly discovered e-mails.
    10                THE COURT: Newly discovered.
    11                MR. DENSEMO: E-mails, text messages that he had
    12     not turned over to --
    13                THE COURT: Regarding Mr. Ramadan in general.
    14                MR. DENSEMO: That's correct.
    15     A.   Not to my knowledge, ma'am.
    16                THE COURT: Okay.
    17                MR. DENSEMO: I don't have any other additional
    18     questions, Your Honor.
    19                THE COURT: Okay. Government.
    20     A.   Sir --
    21                MR. DENSEMO: Thank you. I appreciate it.
    22                MR. WATERSTREET: So I have the right number, may I
    23     see --
    24                MR. DENSEMO: 2D.
    25                MR. WATERSTREET: It's 2D?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2139     Page 67 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          67

      1                MR. DENSEMO: Yeah.
      2                               CROSS-EXAMINATION
      3    BY MR. WATERSTREET:
      4    Q.   Officer Brown, I'm going to show you what has been
      5    marked 2D.
      6    A.   Yes.
      7                MR. WATERSTREET: It's D as in dog, right, Andrew?
      8                MR. DENSEMO: Yes.
      9    BY MR. WATERSTREET:
    10     Q.   This is an e-mail that you sent to John Kruczek, is that
    11     correct, on August 30th, 2017?
    12     A.   Yes, sir.
    13     Q.   And this was to let them know about -- a quick note
    14     about the case, correct?
    15     A.   Yes, sir.
    16     Q.   All right. And did you sit down and type out word for
    17     word each word that is part of this e-mail?
    18     A.   No, sir, not at all.
    19     Q.   Okay. Where did you get the words for this particular
    20     e-mail?
    21     A.   I had cut and paste from the reports.
    22     Q.   So you cut and pasted from a report -- the incident log
    23     report that was written by Charles Schmeltz?
    24     A.   Yes, sir.
    25     Q.   Okay. So this is not necessarily your statement; this


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2140     Page 68 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          68

      1    is a cut and paste of somebody else's statement to let your
      2    bosses know what's going on?
      3    A.   Yes, sir.
      4               MR. WATERSTREET: Your Honor, if I may, and proffer
      5    to the Court, I think I did this once before last time we
      6    were in court, and I will give the Court a copy once again of
      7    the word-for-word cutting and pasting from Officer Schmeltz's
      8    report, his statements.
      9               MR. DENSEMO: Your Honor, he can't -- one, he wants
    10     Schmeltz here, he can get it in through Schmeltz, but we
    11     object to him just giving a document to the Court without
    12     laying any foundations.
    13                MR. WATERSTREET: Well, this is part of the
    14     discovery that has been provided in this case, Your Honor,
    15     and it has been --
    16                THE COURT: Ask the witness if this is the document
    17     that he got the information from.
    18     BY MR. WATERSTREET:
    19     Q.   Is this the document that you got the information from
    20     that you cut and pasted to create this update for your -- for
    21     your supervisor?
    22     A.   Yes, it is.
    23     Q.   Okay.
    24                THE COURT: All right. The Court will accept it.
    25                MR. WATERSTREET: Your Honor, as I mentioned in our


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2141     Page 69 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          69

      1    previous hearing, I went through and marked for the Court's
      2    benefit word for word where he cut and pasted it from the
      3    report.
      4               MR. DENSEMO: Your Honor, what is -- is this -- is
      5    this argument at this point?
      6               MR. WATERSTREET: Your Honor, I'm just trying to
      7    explain.
      8               THE COURT: It sounds like an explanation.
      9               MR. WATERSTREET: I'm trying to explain the
    10     document for the benefit of the Court and for counsel.
    11                Your Honor, what I did, as we did previously in the
    12     other hearing, I went through and highlighted the section
    13     from the report that made its way into this e-mail that was
    14     sent, and I will proffer that up to the Court.
    15                THE COURT: And would you mark it?
    16                MR. WATERSTREET: I will mark that as Government's
    17     Exhibit -- I will mark it as Government's Exhibit Brown 1 and
    18     Brown 2, if I might, Your Honor.
    19                THE COURT: Okay.
    20                MR. WATERSTREET: My handwriting is horrible.
    21                THE COURT: What's Brown 2?
    22                MR. WATERSTREET: Brown 1 will be the report, and
    23     Brown 2 will be the update that he was providing his
    24     supervisor via e-mail.
    25                THE COURT: It will be the same as 2D?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2142     Page 70 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          70

      1               MR. WATERSTREET: Yes, yes, it would be, but mine
      2    has the markings on it for the Court's benefit.
      3               THE COURT: Thank you.
      4               MR. WATERSTREET: Thank you.
      5               THE COURT: All right.
      6                             REDIRECT EXAMINATION
      7    BY MR. DENSEMO:
      8    Q.   Officer Brown, it is your testimony that you did not
      9    review -- that you used that report -- you read that report,
    10     and you then cut and pasted and sent it to your supervisor?
    11     A.   Correct, sir.
    12     Q.   So you saw the language in the report before you sent
    13     it, right?
    14     A.   I highlighted -- I highlighted the highlights, yes, sir.
    15     Q.   You read it before you sent it?
    16     A.   Yes, sir.
    17     Q.   So you knew what was in it, right?
    18     A.   I had an idea, yes, sir.
    19     Q.   You read it?
    20     A.   Yes, sir.
    21     Q.   And you sent it anyway?
    22     A.   Yes, sir.
    23     Q.   And you would not have sent it if you didn't agree with
    24     it, right, if there was -- if there was incorrect or
    25     misinformation in there, right?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2143     Page 71 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          71

      1    A.   No, sir, it wouldn't have been right.
      2    Q.   Okay. Thank you.
      3    A.   Uh-huh.
      4               THE COURT: All right. You may step down, sir.
      5    Thank you.
      6    A.   Thank you, ma'am.
      7               (Witness excused at 12:23 p.m.)
      8               THE COURT: Your next witness?
      9               MR. DENSEMO: Your Honor, could we take a bathroom
    10     break, if you don't mind?
    11                THE COURT: All right. What we will do is take our
    12     lunch break. We will break now until 1:30, and then we will
    13     go to 2:00. I do have a hearing at 2:00.
    14                MR. DENSEMO: We just have one witness, Your Honor,
    15     and as the Court can see, the witnesses have been pretty
    16     short, so there is just one witness left.
    17                (An off-the-record discussion was held at
    18                12:24 p.m.)
    19                THE COURT: The 2:00 is off so we are ready to go
    20     into argument on motion and final argument.
    21                MR. DENSEMO: No, I was saying we still have one
    22     witness left.
    23                THE COURT: After we do that. We are going to
    24     break and then we will come back.
    25                MR. DENSEMO: So we are going to take our lunch


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18     PageID.2144    Page 72 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          72

      1    break, and come back at 2:00?
      2               THE COURT: We will come back at 1:45.
      3               MR. DENSEMO: Okay.
      4               THE COURT: All right.
      5               THE COURT REPORTER: All rise. Court is in recess.
      6               (Court recessed at 12:25 p.m.)
      7                                    _    _     _
      8               (Court reconvened at 1:50 p.m.; Court, Counsel and
      9               Defendant present.)
    10                THE LAW CLERK: All rise.
    11                Calling Case No. 17-20595, United States vs.
    12     Ramadan. Back on the record.
    13                THE COURT: Good afternoon.
    14                MR. DENSEMO: Good afternoon, Your Honor.
    15                THE COURT: All right. We will continue with your
    16     next witness.
    17                MR. DENSEMO: Yes, Your Honor, Agent
    18     Michael Thomas. And, Your Honor, I have shown the government
    19     three e-mails that we will be focusing our questioning on.
    20     And, Judge, I do intend to ask Agent Thomas some questions
    21     about the information that we had not previously received
    22     about the questioning -- regarding Israel -- contacting the
    23     Israeli government and things like that. Again, we had not
    24     previously been made aware of any of that, and that is part
    25     of the discovery that we received back in June.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2145     Page 73 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          73

      1                THE COURT: Okay.
      2                MR. DENSEMO: Thank you.
      3                THE COURT: Here, I have Brown's exhibits, they
      4    should be kept together.
      5                THE COURT REPORTER: Would you please raise your
      6    right hand.
      7                Do you solemnly swear or affirm that the testimony
      8    you are about to give this Court will be the truth, the whole
      9    truth, and nothing but the truth, so help you God?
    10                 AGENT THOMAS: Yes, I do.
    11                             AGENT MICHAEL THOMAS,
    12     called at about 1:52 p.m., was examined and testified on his
    13     oath as follows:
    14                                DIRECT EXAMINATION
    15     BY MR. DENSEMO:
    16     Q.   Agent Thomas, good afternoon.
    17     A.   Good afternoon, sir.
    18     Q.   State your full name for the record, sir.
    19     A.   Michael J. Thomas.
    20     Q.   And could you state the agency with whom you are
    21     employed?
    22     A.   Federal Bureau of Investigation.
    23     Q.   And, Agent Thomas, you previously testified in this
    24     suppression hearing, have you not?
    25     A.   Yes, sir, I have.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2146     Page 74 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          74

      1    Q.   And we're talking about the investigation involving
      2    Yousef Ramadan, correct?
      3    A.   Yes, sir.
      4    Q.   And September 1st, 2017, you sent an e-mail -- I'm
      5    handing you what has been marked as Defense Exhibit --
      6    A.   3A, sir.
      7    Q.   -- 3A. Do you recognize that, Agent Thomas?
      8    A.   Yes, sir, I do.
      9    Q.   Okay. And in that September 1st e-mail from you to
    10     Dave Banach -- and Officer Banach is the officer -- he is
    11     FBI -- is he the FBI agent in charge of this case?
    12     A.   That's correct, sir.
    13     Q.   Okay. You wrote, "I do not recall an excessive or
    14     unusual amount of jewelry discovered during their
    15     inspection"; is that right?
    16     A.   Yes, sir.
    17     Q.   I should know -- "I know he had under $10,000 in cash on
    18     him. Again, exact amount should be in CBP report
    19     provided"; is that right?
    20     A.   Yes, sir.
    21     Q.   Agent Thomas, did you see or count any money --
    22     A.   No, sir.
    23     Q.   -- that was in the possession of Mr. Ramadan?
    24     A.   I'm sorry. No, sir, I did not.
    25     Q.   Okay. And your statement that you do not recall an


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2147     Page 75 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          75

      1    excessive or unusual amount of money during their inspection
      2    was based upon representations made to you by other agents;
      3    is that right?
      4    A.   By CBP officers, yes, sir.
      5    Q.   And CBP officers were the ones that advised you of
      6    whatever they may have found in terms of money and jewelry
      7    and things like that?
      8    A.   That's correct, sir.
      9    Q.   Okay. Did you see any jewelry at all connected with
    10     Mr. Ramadan, and did you handle or examine or inspect any
    11     jewelry at all in connection to Mr. Ramadan?
    12     A.   I don't recall seeing any jewelry, nor did I ever handle
    13     or process any.
    14     Q.   How about cash?
    15     A.   No, sir.
    16     Q.   Did you ever see this CBP report that you mentioned in
    17     your e-mail that should be -- that should be prepared and
    18     provided?
    19     A.   I'm sure I did see that CBP report, sir. I'm not sure
    20     specifically which one it is, but I'm sure I did see it if I
    21     wrote it.
    22     Q.   Did you see a CBP report -- or do you recall a CBP
    23     report that stated an exact amount of money as you predicted?
    24     A.   Not that I can recall, sir.
    25     Q.   Did you see a CBP report regarding jewelry or anything


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2148     Page 76 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          76

      1    like that?
      2    A.   No, sir, not that I recall.
      3    Q.   On August 15th, 2017, do you recall sending an e-mail or
      4    receiving an e-mail from Homeland Security Agent Kelley?
      5    A.   I do not recall.
      6    Q.   When Agent Kelley arrived at the airport at secondary
      7    inspection, you and he talked about or developed plans to
      8    forward the results of your interrogation of Mr. Ramadan and
      9    his wife to the Israelis, did you not?
    10     A.   First, sir, I never interrogated Mr. Ramadan, and I
    11     don't recall this conversation with Mr. Kelley.
    12     Q.   So --
    13                THE COURT: You don't recall what?
    14     A.   I don't recall this conversation with Mr. Kelley.
    15     BY MR. DENSEMO:
    16     Q.   You don't recall a conversation between you, Kelley and
    17     Brown where the three of you discussed sending the results of
    18     the questioning of Yousef Ramadan to the Israelis?
    19     A.   I do not recall that conversation, no, sir.
    20     Q.   Did you transmit the results of your conversation
    21     with -- or interrogation, or interview, or questioning of
    22     Mr. Ramadan, did you transmit results to the Israeli
    23     government?
    24     A.   No, sir. I would never correspond directly with the
    25     Israeli government.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2149     Page 77 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          77

      1    Q.   Did some other member -- did you give information to
      2    someone else to give to the Israeli government?
      3    A.   Sir, I'm not sure if information got transmitted to the
      4    Israeli government, not by myself.
      5    Q.   My question is, did you give some information to someone
      6    else to give to the Israeli government?
      7    A.   Can you repeat that, sir?
      8    Q.   Did you give information, the results that were -- the
      9    information that you derived from the interrogation,
    10     interview, questioning, examination of Yousef Ramadan, did
    11     you give the results of that interview, interrogation, exam,
    12     to someone else to give to a branch of the Israeli
    13     government?
    14     A.   No, sir, I did not.
    15     Q.   Did you develop a report in this case?
    16     A.   I generated a 302, yes, sir.
    17     Q.   Okay. And was that 302 given to one of your superiors?
    18     A.   Yes, sir.
    19     Q.   Did you -- did you ask or direct someone to place
    20     Jeanine Ramadan's name on a lookout list?
    21     A.   I do not recall that, sir.
    22     Q.   So you could have done it, but you don't remember if you
    23     did it or not? That's what I can't recall means; is that
    24     right, Agent Thomas, that you don't remember if you did or
    25     you didn't do it?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2150     Page 78 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          78

      1    A.   I do not remember, sir. I cannot recall. I would not
      2    have been the case agent on this. I was not the case agent,
      3    so I would say no, but I can't specifically recall.
      4    Q.   Were you advised that the information -- were you
      5    advised or do you know if some or all of the information from
      6    your interview, interrogation, questioning of Yousef Ramadan
      7    was eventually provided to the Israeli government?
      8    A.   I do not know if it was or was not, sir.
      9    Q.   Were you told that it was?
    10     A.   I was not told that, sir.
    11     Q.   But you are saying that you never had a conversation --
    12                MR. WATERSTREET: Your Honor, first of all, I don't
    13     know what the relevancy of this is to whether the defendant
    14     was beaten or forced or coerced to make a statement, which is
    15     the subject matter of this -- of these proceedings, and the
    16     agent has over and over said he does not know, and so I don't
    17     understand this line of questioning and how it is relevant.
    18                MR. DENSEMO: It is relevant to -- Your Honor, one
    19     of the questions that you have to determine is, is the
    20     government correct in this was simply a routine secondary
    21     inspection involving an export violation. That is what the
    22     government has hung its hat on in this case, that they had
    23     the right to do this because this was nothing more than a
    24     routine secondary inspection involving nothing more than an
    25     export violation that happens every day.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2151     Page 79 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          79

      1               THE COURT: I will take the answer.
      2    A.   Could you please repeat the question, sir?
      3               MR. DENSEMO: I'm sorry. Could you read my
      4    question back for me?
      5               (The requested portion of the record was read by
      6               the reporter as follows:
      7               "Q. Were you advised that the information -- were
      8               you advised or do you know if some or all of the
      9               information from your interview, interrogation,
    10                questioning of Yousef Ramadan was eventually
    11                provided to the Israeli government?")
    12                MR. DENSEMO: Thank you.
    13     BY MR. DENSEMO:
    14     Q.   And your answer to that was?
    15     A.   I'm not aware, sir. It is possible, but I'm not aware.
    16     Q.   And it's your position that you never had a conversation
    17     with Agent Kelley and Brown about developing plans to send --
    18     about a plan to send this information to the Israeli
    19     government? Your statement was you never had that
    20     conversation. Do you --
    21                MR. WATERSTREET: Your Honor --
    22     A.   My statement was I do not recall.
    23                MR. WATERSTREET: Your Honor, Your Honor, if I may,
    24     he has asked three different questions.
    25                THE COURT: Sustained. Break it down.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2152     Page 80 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          80

      1    BY MR. DENSEMO:
      2    Q.   Let me ask this simple question, this one question.
      3    It's your position that there was no conversation between you
      4    and Agents Kelley and Brown about developing a plan to send
      5    information to the Israeli government?
      6    A.   I do not recall that conversation, sir.
      7    Q.   So it could have happened, but you don't recall, or it
      8    never happened?
      9    A.   It could have happened; I just don't recall that
    10     conversation.
    11     Q.   In your August 27th, 2017 e-mail, which I'm handing you,
    12     which has been marked as Defense Exhibit 3B, do you recall --
    13     do you recognize that e-mail?
    14     A.   Yes, sir, I do.
    15     Q.   May I?
    16     A.   Yes, sir.
    17     Q.   In this e-mail you indicate -- and this e-mail was from
    18     you to Nicholas Zambeck; is that right?
    19     A.   Can I see it again, sir?
    20     Q.   Sure.
    21     A.   Yes, from me to my supervisor, Nick Zambeck.
    22     Q.   Okay. Thank you. And you write, "We know this because
    23     his wife advised this before she was released and departed
    24     the airport with her sister-in-law." What does this relate
    25     to, "we know this"?


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2153     Page 81 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          81

      1    A.   Can I please see that, sir? You keep taking it away and
      2    I can't understand the context of what you're asking and what
      3    you're seeing.
      4    Q.   Sure.
      5    A.   Yes. When I was out talking to the sister-in-law in the
      6    hallway -- or outside of the CBP area, I heard a statement
      7    that she was going around to get the van, and that's -- and I
      8    further explain we know this because the wife advised that
      9    she was going with the sister-in-law.
    10     Q.   Okay. So this was in response to -- from a prior e-mail
    11     from Zambeck?
    12     A.   I'm not sure if it was in response to an e-mail -- a
    13     prior e-mail or telephone call.
    14     Q.   You don't recall?
    15     A.   I don't recall.
    16     Q.   Hopefully I didn't ask you this question already,
    17     Agent Thomas. Did you put -- as a result of your
    18     interrogation of Mr. -- I mean your examination or interview
    19     of Mr. Ramadan, did you place any member of his family's name
    20     on a watch list? Did you do that?
    21                MR. WATERSTREET: Your Honor --
    22     A.   No, sir.
    23                MR. DENSEMO: Okay. I think I'm done, Your Honor.
    24                THE COURT: All right. Government?
    25                MR. WATERSTREET: No questions. Thank you, Your


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2154     Page 82 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          82

      1    Honor.
      2               THE COURT: You may step down, sir.
      3    A.   Thank you, Your Honor.
      4               (Witness excused at 2:05 p.m.)
      5               MR. DENSEMO: That is all the witnesses we wish to
      6    call at this time, Your Honor. I believe that the government
      7    has indicated that Officer Robinson is out of the country.
      8               THE COURT: Okay. Government, anything?
      9               MR. WATERSTREET: No.
    10                THE COURT: All right. Let's do argument. Excuse
    11     me one minute. Let me pull up -- I would like you to do the
    12     argument on the Motion to Dismiss Due to Outrageous
    13     Government Conduct.
    14                MR. DENSEMO: Your Honor, I -- the defense's
    15     position is laid out in the pleadings that we've submitted.
    16     It is our position that the number of motions that we've had
    17     to file for discovery, and the information that has been
    18     withheld from the defense, the testimony that has been
    19     elicited from the witnesses with the government's knowledge,
    20     that there are huge --
    21                THE COURT: There are what?
    22                MR. DENSEMO: Huge discrepancies, if not
    23     falsehoods, that have been -- that have been placed on the
    24     record in this case, again, with the government's knowledge
    25     and with no interference or interruption or correction by the


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2155     Page 83 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          83

      1    government.
      2               We believe that the position that we have been
      3    placed in, in having to repeatedly petition this Court for
      4    discovery in the face of government representations that
      5    there wasn't anything else, has placed the defense at a huge
      6    disadvantage, and as a result we have not been able --
      7    Mr. Ramadan has not had as effective assistance of counsel as
      8    he should have received as a result of the government's
      9    negligence, if not outright willfulness, in not providing
    10     information, discovery, that the defense is entitled to in a
    11     timely manner and in -- in a timely manner and in a fashion
    12     which would allow the defense to effectively cross-examine
    13     these witnesses and to deal with the -- with their testimony.
    14                Even today we can see that these witnesses have
    15     prepared themselves for defense questioning regarding these
    16     newly discovered e-mails. In particular, Agent Kelley, who I
    17     viewed as extremely forthcoming during the initial
    18     suppression hearing, today, in my mind, wasn't as forthcoming
    19     or unwilling to give straightforward answers as he was during
    20     the initial proceedings. And there appears to be a huge gap
    21     between his testimony regarding these plans and the testimony
    22     of Agent Thomas regarding what plans had been developed
    23     regarding submission of information to the Israeli
    24     government.
    25                I know the Court has indicated that the Court is


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2156     Page 84 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          84

      1    not prepared to call the prosecutors in this case or the
      2    agents or the prosecutorial staff, and we understand that.
      3    But I do think, Judge, that we've gone -- the we've had to
      4    jump through too many hoops as a result of the government not
      5    providing us with what we needed when we needed it, and that
      6    we have not been as effective as we could have been, and I
      7    think that this was -- this -- this had to have been
      8    strategic by the government to try to withhold as much as it
      9    could for as long as it could.
    10                And we ask the Court to sanction the government
    11     through dismissal. I know this is an extraordinary remedy,
    12     one that is not often granted, but I think the facts of this
    13     case are sufficient; that the Court can find that the defense
    14     has been hindered throughout this case in presenting as
    15     effective defense as it could have on behalf of Mr. Ramadan,
    16     and that his due process rights have suffered immeasurably as
    17     a result of the government's conduct in this case, and we
    18     would ask the Court to dismiss it.
    19                THE COURT: Thank you. Mr. Martin.
    20                MR. MARTIN: Your Honor, the legal basis upon which
    21     the defense seeks dismissal doesn't actually exist in the
    22     Sixth Circuit, and that's a fact that Mr. Densemo and
    23     Ms. Fitzharris have not recognized either in the oral
    24     argument or in their pleading. They caption their motion a
    25     Motion to Dismiss Due to Outrageous Governmental Conduct, but


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2157     Page 85 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          85

      1    as the government pointed out in our brief, the Sixth Circuit
      2    has soundly rejected the notion that a due process -- just
      3    general due process violation by the government having
      4    nothing to do with the defendant's guilt or some kind of
      5    misconduct of the government during the course of the
      6    criminal proceedings; in other words, something some agent
      7    did before the case was even brought into court would ever
      8    serve as a basis to dismiss indictment due to the outrageous
      9    nature of the government conduct.
    10                The Sixth Circuit has rejected that as a legal
    11     theory for relief for the defense, a fact that they don't
    12     even tell you about. So the entire basis for their motion
    13     does not apply in this Court.
    14                So what they do instead is they ask you to dismiss
    15     the indictment based on your own supervisory powers. And
    16     there is some case law in the Sixth Circuit that does seem to
    17     indicate that a court, in exercising its supervisory powers,
    18     could dismiss an indictment due to some kind of governmental
    19     misconduct. In those cases it's typically some kind of
    20     allegation that the government attorneys did something
    21     improper before the Grand Jury, that's the most typical fact
    22     pattern in those cases, but it is an extraordinary remedy,
    23     and the Sixth Circuit has said that remedy should only be
    24     given by the Court if two conditions are met.
    25                And one is if the defendant shows the Court that


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2158     Page 86 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          86

      1    there is a longstanding pattern of that type of misconduct in
      2    the judicial district, and, second, that -- that the
      3    defendant was prejudiced by the governmental misconduct. So
      4    those two things have to be present; longstanding pattern and
      5    actual prejudice to this defendant.
      6                And the -- Mr. Ramadan has not alleged in his
      7    brief, let alone established any proof, that the type of
      8    allegations that he's making against me and Mr. Waterstreet
      9    are a longstanding pattern in the Eastern District of
    10     Michigan.
    11                 And, yes, the defense has filed many discovery
    12     motions, but they have all been denied by the Court because
    13     they lack merit with the exception of a few instances where
    14     the Court has provided them additional discovery, but even
    15     then the Court made comments on the record indicating that
    16     the Court didn't believe it was necessarily required under
    17     the law, but simply prudent to do so in this circumstance.
    18                 For example, the Giglio information regarding
    19     Agent Thomas that we litigated earlier, and the government's
    20     position was Giglio did not apply to a witness called by the
    21     defense, and the Court indicated on the record that you
    22     believed that to be true, but nevertheless were ordering the
    23     government to provide the Giglio information with respect to
    24     Agent Thomas to the defense, which we did, and they impeached
    25     him with it when he testified, you know, his discipline for


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2159     Page 87 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          87

      1    some prior case.
      2               So, yes, they have filed many defense motions, but
      3    simply filing motions doesn't equate to governmental
      4    misconduct when your motions are meritless and are denied by
      5    the Court. So for those reasons I don't believe the Court
      6    should grant the motion. Thank you.
      7               THE COURT: Thank you. Any reply?
      8               MR. DENSEMO: Your Honor, just -- the whole issue
      9    about Agent Thomas being our witness, how he became our
    10     witness was the government refused to call him, and the
    11     government maneuvered to have Agent Thomas be our witness and
    12     for us to call him so that they could make this argument.
    13                As I indicated, the government has made a number of
    14     maneuvers in this case to try to put the defense at a
    15     disadvantage, beginning with arguing this whole issue about
    16     burden of proof, which in my colleague's, Ms. Fitzharris'
    17     brief showed that that argument was a specious argument. It
    18     wasn't even a legitimate argument that they were making. It
    19     was, again, as we argued, an attempt to put the defense at a
    20     disadvantage, to make the defense call witnesses out of order
    21     so the government wouldn't have to fulfill certain
    22     obligations like their obligations under Giglio.
    23                This -- the entire -- the entirety of the
    24     government's prosecution in this case, you know, the whole
    25     trajectory of this prosecution has been to subvert and to try


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2160     Page 88 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          88

      1    to get around normal procedures that typically happen in a
      2    felon-in-possession case or an obliterated serial number
      3    case, and it has been extraordinary.
      4               The steps that they have taken to try to get around
      5    typical things that are done in these very unusual cases like
      6    having the defense call witnesses, having -- making the
      7    defense submit a Touhy letter, a subpoena. This is the first
      8    time that I have ever seen or heard of a Touhy letter in a
      9    case, or having the defense subpoena witnesses who were
    10     involved in the interrogation of an individual.
    11                Again, Judge, I'm not going to belabor the point.
    12     It just seems to me, as I indicated a long time ago, that
    13     this molehill has been made into a mountain, and one year
    14     later into this case, we are still arguing about discovery
    15     and about civility and how to -- and about what the defense
    16     should receive and shouldn't receive. And the government's
    17     efforts to subvert Mr. Ramadan's due process rights in this
    18     case to my mind are clear, and I think they warrant sanctions
    19     in this case. Thank you.
    20                THE COURT: All right. The Court has reviewed the
    21     briefs submitted in this case and has, of course, heard the
    22     testimony at the hearing in the past and today. It's the
    23     claim of the defense that the government's conduct is so
    24     outrageous that the motion must be dismissed [sic].
    25                I agree with the government that I don't know this


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2161     Page 89 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          89

      1    Motion to Dismiss For Outrageous Conduct. It does exist, as
      2    I understand it, in some other districts outside of the State
      3    of Michigan, but I looked for cases in which it was actually
      4    applied, and I didn't find any case in which a case was
      5    dismissed based upon outrageous government conduct.
      6               Certainly the Court can take into consideration the
      7    conduct of the government and dismiss on its own right
      8    because of conduct that is so, quote/unquote, outrageous.
      9               The Court looked at the things that are -- that are
    10     suggested by the defendant. And, for instance -- I would
    11     like to go through these that are listed in the brief -- that
    12     the government knew that FBI Agent Michael Thomas had been
    13     investigated and disciplined and withheld exculpatory
    14     evidence. The Court doesn't find that it was withheld, and
    15     this was such a notorious case that he was in, that it would
    16     be foolhardy to withhold it. I understand defense's theory
    17     that the government deliberately did not call Agent Thomas,
    18     but I don't really see any evidence that this was
    19     deliberately to avoid this issue of his prior reprimand.
    20                Also, in terms of the discovery motions that were
    21     filed, many of the discovery motions -- well, I think most of
    22     them were denied, but they were brought to find information,
    23     and the only thing that I can recall is that there was
    24     subsequent documents that were given to the defense, that's
    25     very true, that the government says that they discovered


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2162     Page 90 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          90

      1    having gone back.
      2               And the Court looked at those specific documents
      3    and, you know, they really didn't change the picture of the
      4    testimony in this case at all. It did show as -- in fact,
      5    today, some of them, that there was this conflict between
      6    some of the agents as to what was said, but that discrepancy
      7    in testimony is not unusual when there's more than one person
      8    involved, and it didn't really make any difference.
      9               For instance, the testimony about giving the
    10     information to the Israeli government, did they or didn't
    11     they, really has nothing to do with the motion that we are
    12     here -- the basic motion that we are here on in any event.
    13                The testimony about who handcuffed the defendant
    14     and how many times was he handcuffed, were there actual
    15     handcuffs or not, again, doesn't go to the issue that we are
    16     here on.
    17                It does go to an issue which the Court will discuss
    18     in its ruling on the main motion in its opinion, but it goes
    19     to an issue to me of whether he was free to leave. I mean,
    20     to me that is an issue that handcuffing has to deal with.
    21                There is a claim by defendant that the border
    22     patrol officers violated policy and procedure in conducting
    23     the search, and there was some implication that there was
    24     some policy regarding written notes. All of that has not
    25     been shown, so I find that is without merit.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2163     Page 91 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          91

      1               And also there was the issue which was brought up
      2    today, and it may have been brought up before, I honestly
      3    don't recall, about the receipt that Mr. Ramadan did not --
      4    allegedly did not get for his goods. But, again, it sounds
      5    to the Court that the custom was that they would fill out
      6    this form and a copy would go to the person whose goods they
      7    had seized, but that in this case does not have any effect on
      8    the basic motion at hand.
      9               Yes, there's testimony from Mr. Ramadan that
    10     differs with what the agents say, and for the Court to
    11     validate Mr. Ramadan's testimony. I would have to say all --
    12     I think there were five or six agents that testified
    13     regarding, for instance, the beating that was referenced in
    14     the -- in the briefs, and the Court is not willing to do
    15     that. I think there's a conflict in testimony, which is not
    16     unusual in these cases, and I certainly think there is a big
    17     conflict, but I find it difficult to believe that each of
    18     these agents made up some stories as they went along, that
    19     the government made up stories.
    20                And, again, we have to talk about the government
    21     and what happened since the indictment. I don't think I need
    22     to go through that law, but all in all I don't find that the
    23     government's actions here were outrageous if, in fact, this
    24     claim exists, but I don't find that there's any basis to
    25     dismiss this indictment.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2164     Page 92 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          92

      1               MR. DENSEMO: Thanks, Your Honor.
      2               THE COURT: Okay. Let's go on now to the main
      3    motions and have argument on those. Who's going to do that?
      4               MS. FITZHARRIS: Really what both motions come down
      5    to is whether the officers' actions on August 15th and
      6    through the morning of August 16th were for the purpose of
      7    investigating a crime. In both contexts there are -- once
      8    they are investigating a crime, there are certain procedural
      9    protections that are triggered. Searches and seizures must
    10     be reasonable. They are no longer in a balancing test where
    11     searches can be motivated by special needs. Miranda warnings
    12     have to be issued if it is an interrogation about criminal
    13     activity where it's likely that an incriminating statement
    14     would be elicited.
    15                And the government's position right now is that
    16     just because this is at a border, all of those protections
    17     are irrelevant as long -- because in this case I think the
    18     evidence that has been elicited at these hearings shows that
    19     they were not -- that this was not about a Customs violation.
    20     This was really about an investigation into terrorism.
    21                With that kind of broad picture in mind, I'm going
    22     to talk -- kind of break some things down and talk about what
    23     specifically we think needs to be suppressed, and it all
    24     comes down to the warrant, what's included in that warrant
    25     for the storage locker. I'm going to go through it


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2165     Page 93 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          93

      1    painstakingly so the record is clear.
      2               Paragraph 8 talks about contents of the media
      3    search of the hard drive. We challenge the constitutionality
      4    of that search. Anything found as a result of the search of
      5    the hard drive at the border was not -- didn't -- there was
      6    no warrant, there was no reasonable suspicion, and we believe
      7    it was unreasonable.
      8               Paragraph 10, Mr. Ramadan's statements about the
      9    context of that hard drive and about the photos and about the
    10     videos. Those statements weren't Mirandized, in a coercive
    11     environment, and they were the product of the search of the
    12     hard drive.
    13                Paragraph 11, statements made about pipe bomb
    14     photos. Again, the search was -- if the search was illegal,
    15     his statements in response are fruits. If his statements --
    16     if he was required to receive Miranda warnings, those
    17     statements should also be suppressed. And if they were
    18     coerced, they should be suppressed.
    19                Paragraph 12, any statement about the YouTube
    20     channel and guns. Again, those were all questions prompted
    21     by the search of the computer, given without warnings in a
    22     coercive environment.
    23                Paragraph 13, again, talks about the YouTube
    24     channel. I don't want to repeat myself too much, but, again,
    25     the YouTube channel -- the finding it on the internet was the


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2166     Page 94 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          94

      1    product of his statements made at the airport.
      2               Paragraph 14, any statements about ownership,
      3    possession of weapons, the existence of a storage unit,
      4    whether he kept those -- any firearms he owned in the storage
      5    unit. Those too were the product of -- based on questions
      6    about photos they found on his media where he's holding guns,
      7    and also the product of un-Mirandized coerced statements.
      8               Paragraph 15, I really want to focus on page 10 of
      9    the warrant. Specifically, there's a statement in there that
    10     ICE examined an iPhone 7, model A1661, with a serial number
    11     of F2LSR4XGHFYZ. They did not have a warrant to search the
    12     iPhone before that. We clarified with Officer Armentrout
    13     today; he did not search the iPhone at the airport. So that
    14     means the ICE officer who searched that iPhone 7 searched it
    15     without a warrant, not at the border. What they found was a
    16     letter from Devon Storage regarding a rent payment. That,
    17     again, is product of an illegal search.
    18                Paragraph 16 through 17 include Mr. Ramadan's
    19     statements about the various images containing ISIS photos or
    20     photos of conflict around the world. Those are also the
    21     product of the search, un-Mirandized statements and a
    22     coercive environment.
    23                And finally, Your Honor, paragraph 18, although
    24     this is not as important, statements about the fact that he's
    25     a private person, where he was asked about whether he shares


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2167     Page 95 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          95

      1    information with his wife. That's not necessarily a product
      2    of the search, but it is a product of un-Mirandized
      3    questioning in a coercive environment.
      4               It is uncontested -- I'm going to talk right now a
      5    little bit -- I'm going to talk about the statements. First,
      6    I will begin with why the evidence shows that Mr. Ramadan was
      7    in custody, and according to not only the law on
      8    Fifth Amendment Miranda but also CBP training materials, they
      9    were -- Mr. Ramadan should have been read Miranda warnings.
    10                The evidence establishes that Mr. Ramadan was
    11     handcuffed at least two times, we know three; twice by
    12     Officer Schmeltz and once by Officer Brown. I know
    13     Officer Brown and Officer -- Agent Thomas has suggested that
    14     he didn't have his handcuffs that day. Agent Kelley
    15     testified before there was any of this kerfuffle about
    16     whether Brown or Thomas would testify at all that he saw
    17     Officer Brown put handcuffs on him. And in the reports of
    18     the incident were -- suggested that it was Officer Brown who
    19     put handcuffs on him. If the Court wants to find that he
    20     deliberately lied, I think there is evidence to find that.
    21                But regardless, when trying to decide whether he
    22     was in custody, whether the environment was coercive such
    23     that Miranda warnings should have been given, the evidence is
    24     crystal clear; he was handcuffed and not free to leave.
    25     Every single agent to testify said that he was not free to


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2168     Page 96 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          96

      1    leave. If he had wanted to go, he could not go until they
      2    were done asking him questions and until they were satisfied
      3    with his responses.
      4               Then that brings me to another issue. He was
      5    repeatedly questioned about the same thing. When he said
      6    that he did not want to ask [sic] questions, they asked him
      7    again. When he said he did not want to provide his passcode
      8    to the iPhone, he was asked again and again and again and
      9    then handcuffed. So when you talk about whether he had a --
    10     he was actually free to refuse consent or refuse to answer
    11     anything, we show a pattern of repeating -- repeated
    12     questioning and then some sort of physical response; a
    13     further restraint on his liberty.
    14                The place where this took place. It was in a
    15     secondary inspection area. It is true that the -- the first
    16     interview room where they placed Mr. Ramadan had windows, but
    17     it was out -- they were windows out into another seating area
    18     with no windows to the outside. There's no natural light in
    19     that room. Regular passersby in the airport cannot see in.
    20     The evidence is pretty -- is very clear on this point, that
    21     only the Ramadan family and the officers involved in this
    22     interrogation were present. There were no neutral observers
    23     in the room. He was isolated.
    24                On every single wall in the room, there's a plaque
    25     with the obstruction of justice statute and the seal of


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2169     Page 97 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          97

      1    Customs and Border Protection patrol.
      2                The room Mr. Ramadan was placed in was very small;
      3    it would be quite cramped with the two officers and
      4    Mr. Ramadan. He was placed with his back to the window and
      5    to the door, although there was some testimony about the door
      6    being opened and closed at points in the evening. It was not
      7    ever opened because Mr. Ramadan wished it to be. He was
      8    put with his back to the window because -- and so he could
      9    not see his family; he could not see his children.
    10                 As far at the impact that has on him. Part of the
    11     coercive environment is someone's subjective experience of
    12     it. It's already stressful to be traveling, particularly
    13     internationally, with small children, but when they were
    14     taken off the plane and put in that room, his children were
    15     terrified. His daughter wet herself, she was so scared, and
    16     she's of an age where that is not a common response. His
    17     wife was noticeably scared, and his children were crying.
    18     That, as any parent would know, would have an impact on their
    19     experience of the situation, and the experience of the
    20     questions, and the desire to leave, and the feelings that if
    21     you don't answer questions something might happen to the
    22     children.
    23                 The nature of the questions was directed --
    24     initially they were regular Customs questions; where are you
    25     going, what are your plans? Mr. Ramadan answered those.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2170     Page 98 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          98

      1    Very quickly, however, the questions steered off those topics
      2    to topics that are about criminal conduct. They asked him
      3    about his political views, whether he supported Hamas,
      4    whether he supported ISIS. They asked him whether he liked
      5    Jews. These are not normal Customs questions.
      6               There's testimony that -- you know, Mr. Ramadan
      7    testified that at one point he was told that he was going to
      8    go to Guantanamo, and the impact that has, particularly on a
      9    person -- a Muslim person in the post-911 world is
    10     tremendous. There are people still there who have never
    11     received a trial, never been charged. That is a terrifying
    12     prospect for someone.
    13                They asked him also about guns, whether he
    14     possessed them legally and where they were. These, again,
    15     are not normal Custom questions. These are not questions --
    16     he already admitted upfront, I do not have an export license,
    17     he said. It's pretty common according to Officer Schmeltz
    18     that a lot of people don't realize that they have to declare
    19     certain items, and he said usually what happens is they
    20     either forfeit the items or there's some sort of process
    21     where they can come back and get them, but it is pretty
    22     common, just having an export-control-violation item, you
    23     know, but this strayed way beyond that. They had what they
    24     needed to know to decide whether there had been a potential
    25     export violation, but it went a lot further.


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18    PageID.2171     Page 99 of 149
                              Evidentiary Hearing • September 12, 2018
                                                                                          99

      1               These officers all had weapons. They may have been
      2    holstered, but Mr. Ramadan was aware of their presence. He
      3    is not -- we are not arguing that mere presence of weapons is
      4    some sort of deciding factor in whether somebody is in
      5    custody or whether the environment is coercive, but it is a
      6    factor. And even an NRA member, if unarmed in a room
      7    surrounded by multiple people with firearms, will feel some
      8    terror at the prospect of being unarmed with people trained
      9    to use -- to shoot to kill.
    10                We also know that there was a long period of time.
    11     Officer Robinson testified that he delivered the Ramadan
    12     family to the secondary inspection area around 9:00 p.m.
    13     Mr. Ramadan was not released from custody until somewhere
    14     between 4:00 and 5:00 in the morning. It's an extraordinary
    15     amount of time where he did not eat, and he was not exactly
    16     in a position where he could sleep given the stressful
    17     environment.
    18                Based on some of the testimony today, we learned
    19     that maybe some of the sets -- so there were multiple
    20     questionings with Officers Schmeltz and Armentrout, and then
    21     there was another questioning in a separate room with FBI,
    22     HSI, CBP officers present.
    23                The moving from room to room is another factor when
    24     considering whether an environment is coercive and whether a
    25     person is in custody. Again, during that period it is not


                                   U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2172      Page 100 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     100

    1     like he had a choice to go into that room.
    2                He did not eat the entire time. When he emerged
    3     from the conference room, which does not have windows, he did
    4     not know where his family was. Eventually he was told -- he
    5     was told that they had gone home, but, again, after hours
    6     being in a place early in the morning, not knowing where
    7     family is, that puts a lot of psychological strain on a
    8     person.
    9                He also asked that the conversation be recorded,
   10     and he has good reason to do that. Your Honor saw that
   11     Mr. Ramadan has had contact with police officers in the past,
   12     and it has been dangerous for him, where he was dragged to
   13     the ground, and he was beaten. And so that subjective
   14     experience goes into the question of whether his answer --
   15     his statements were coerced, the product of a coercive
   16     environment, and whether he felt coerced. And he asked for
   17     it to be recorded for that reason.
   18                All of these things, all of these many factors,
   19     leads to the conclusion that this was -- that Mr. Ramadan was
   20     in custody. I think, you know, the in-custody factors courts
   21     look at are the purpose of the questioning, the place, the
   22     length, whether the person was free to leave, whether the
   23     person had unrestrained freedom, and whether he initiated the
   24     contact. All of these factors are present here.
   25                He was not free to leave. He did not initiate this


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2173      Page 101 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     101

    1     contact. It was not voluntary. So he should have been read
    2     Miranda warnings, but also important is the fact that he
    3     should have been provided a lawyer when he asked for a
    4     lawyer. On that point, the case law is extremely clear.
    5                And I know the government is going to mention a
    6     case called Galloway, which they claim stands for the
    7     proposition that Miranda warnings are not required at the
    8     border. That's actually not what Galloway says. Galloway
    9     says that Miranda warnings are not required for routine
   10     Customs inspections.
   11                At the beginning of this talk, I mentioned that
   12     this was not routine. This was a criminal investigation, and
   13     the minute that it escalated from routine questions about
   14     travel plans, contents of the luggage, and they started
   15     asking him about terrorism and guns, they should have read
   16     him Miranda warnings.
   17                And frankly that escalation point happened quite
   18     immediately because as soon as they found these
   19     export-controlled items, the Joint Terrorism Task Force was
   20     called. Agent Thomas of the FBI, not a Customs or border
   21     agent, was contacted and asked to come for questioning. So
   22     was Agent Kelley of Homeland Security.
   23                Very early on, as we heard from Agent Kelley, they
   24     were talking about a plan where they would provide law
   25     enforcement intel to the Israelis; in case the United States


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2174      Page 102 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     102

    1     did not bring charges against Mr. Ramadan, the Israelis might
    2     be able to. The whole purpose of these conversations -- of
    3     this questioning was not to determine the export violation;
    4     it was to build a case or to find out if Mr. Ramadan was
    5     involved in criminal activity, specifically terrorism.
    6                Again, we see that from the notes, we see that from
    7     the only notes we have which are from Agent Thomas who said
    8     that -- who wrote on a paper that Mr. Ramadan was a member of
    9     Hamas/ISIS, and he was a lone wolf, and he circled that.
   10     Again, this is nothing to do with Customs violations because
   11     in their mind they had built a narrative about who
   12     Mr. Ramadan was based on some very limited information. They
   13     believed he was a terrorist, and that was what they were
   14     driving at.
   15                So he should have been received -- he should have
   16     received the panoply of protections provided to people who
   17     are suspected of criminal activity. And I would say that at
   18     the point at which, if we are going to draw a line in the
   19     evening when that occurred, it was when they contacted the
   20     Joint Terrorism Task Force. As soon as they made that
   21     decision, and the purpose of the questioning was to determine
   22     whether he was involved in terrorist activity, that's when
   23     Miranda warnings should have been given.
   24                I have gone through all of the factors and
   25     explained why he was in custody, why he should have received


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2175      Page 103 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     103

    1     Miranda warnings, but a lot of these same factors are the
    2     same ones you would use to determine whether somebody's
    3     statements have been coerced. It does not require a physical
    4     beating. That is a component here.
    5                Most of Mr. statements -- most of Mr. Ramadan's
    6     statements he made were made before he was punched in the
    7     stomach. They were -- you know, there was some statements --
    8     he -- but that was the culmination of the coercive
    9     environment, and I've already gone through all of the reasons
   10     to believe that.
   11                Physical punishment. There was some form of
   12     physical punishment for his failure to respond to questions.
   13     When he didn't provide his passcodes, he was handcuffed.
   14     Yeah, he was agitated when he was asked repeatedly to provide
   15     his passcodes, but the message when they put handcuffs on him
   16     behind his back in an uncomfortable position is that failure
   17     to submit to their requests and their demands would result in
   18     a further restraint on his freedom of motion -- movement.
   19                Mr. Ramadan -- everybody testified -- all the
   20     agents testified that he was uncooperative throughout this.
   21     He did not want to answer these questions. And so when you
   22     are asking whether his statements were voluntary or
   23     involuntary, that is an important component because there was
   24     something about that environment, despite his lack of
   25     cooperation, despite the fact that he did not want to answer


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2176      Page 104 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     104

    1     these questions, that made him answer them, and it was the
    2     threat that they would misunderstand him, potentially send
    3     him to Guantanamo, or that they would not let him go home to
    4     his family.
    5                Let's talk a little bit about why suppression for
    6     the Miranda violation and the involuntary statements is the
    7     appropriate remedy here.
    8                So in Patane the Supreme Court said that the
    9     statements -- involuntary statements may never be used
   10     against a defendant at trial. But there's an additional
   11     reason why the un-Mirandized statements, statements made
   12     without a lawyer, should be suppressed, and that's because
   13     Miranda is a prophylactic measure to prevent these kind of
   14     coercive environments, police abusing this kind of coercive
   15     environment and then subsequently using statements --
   16     unwarranted statements against a defendant in a criminal
   17     proceeding. That does not have to be limited to a trial,
   18     that is the most common circumstance, but here they actually
   19     did use Mr. Ramadan's un-Mirandized statements against him in
   20     a criminal proceeding, a warrant, signed by a magistrate
   21     judge. They were submitted to him. It was as if Mr. Ramadan
   22     was testifying against himself in front of that magistrate
   23     judge, and that's why a suppression of those statements,
   24     excising them from the warrant, is the appropriate remedy
   25     here because as all the case law shows on the fruits


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2177      Page 105 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     105

    1     doctrine, at least statements made -- evidence seized
    2     illegally cannot then be used in a search warrant. The
    3     proper remedy is to excise them from the warrant, and then go
    4     back and review it for probable cause. Probable cause will
    5     go away without his statements at all.
    6                Unless the Court has questions about the statements
    7     issue, I'm going to move on to the border search.
    8                THE COURT: Okay.
    9                MS. FITZHARRIS: There is a difference in the case
   10     law between searches to uncover evidence of a crime and
   11     searches for some other special needs, and so that's why a
   12     huge focus of these proceedings has been on trying to
   13     determine what the purpose of looking at the files -- the
   14     digital media was. I know the government has cited the
   15     border search exception, but I want to kind of return to
   16     first principles as the Supreme Court recently did in
   17     Carpenter, the most recent case that we have on digital
   18     privacy. It changes, you know, anything dealing with the
   19     seismic shift of technology nowadays.
   20                The Fourth Amendment is about safeguarding a
   21     person's privacy and security against arbitrary power, and to
   22     prevent some form of permeating police surveillance. It's
   23     quite simply not an option for people not to travel. As the
   24     Court recognized -- the Supreme Court recognized, to say
   25     somebody -- phones, digital media, they have become a part of


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2178      Page 106 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     106

    1     our lives in a way that we never thought before.
    2                In Riley the Supreme Court compared a cellphone --
    3     a smartphone to an appendage of the body because they are so
    4     connected to our lives. And they are particularly sensitive
    5     because of just how much sensitive information can be stored
    6     on there. You can learn more about a person by looking at a
    7     cellphone or a hard drive than you can by even going through
    8     someone's house; you have medical records, phones [sic],
    9     e-mails, text messages. You can relocate -- you can
   10     reconstruct where a person has been for years by just looking
   11     at a cellphone. That the quantity and quality of that
   12     information is such that the Supreme Court has said both in
   13     Riley and in Carpenter, we need different rules. In fact,
   14     the Court said we should not uncritically extend certain
   15     doctrines in the wake of this new technology, and that's a
   16     direct quote from Carpenter, the most recent decision.
   17                And so in Carpenter what the Court did was it said
   18     all of this information you can learn about a person from
   19     collecting cell tower information and reconstructing their
   20     locations, it's so different than anything else before. And
   21     so collecting it and reconstructing someone else's --
   22     someone's -- we are not going to extend the third-party
   23     doctrine to that data, to that media.
   24                And Riley says the same thing about searches
   25     incident to arrests in cellphones. We are just in a


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2179      Page 107 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     107

    1     different world. And the border search doctrine is not one
    2     that we should extend uncritically in the world of digital
    3     media. It has been a seismic shift.
    4                To the end, you know, then -- so what do we do in
    5     this case? What level of suspicion should be required? We
    6     shouldn't just say anything goes when it comes to digital
    7     media. And as I said earlier, you know, there's current
    8     practice, no suspicion required, reasonable suspicion,
    9     probable cause without a warrant, probable cause with a
   10     warrant. Obviously the last one, probable cause warrant,
   11     that's the gold standard. And particularly given the ease
   12     with which people can obtain warrants -- law enforcement
   13     officers can obtain warrants, it is not a tremendous burden
   14     on the government to require a warrant to search media at the
   15     border.
   16                But I suggest at the very least some form of
   17     reasonable suspicion is required even at the border to search
   18     someone's cellphone. That is more than a hunch, a reasonably
   19     articulable basis to search digital media, not just to
   20     believe that some criminal violation has existed.
   21                All the Fourth Amendment case law requires a nexus
   22     between the crime suspected and the thing or place to be
   23     searched. All right. So it's not enough just to say that
   24     someone committed an export violation. There must be some
   25     reason to suspect that there's information related to the


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2180      Page 108 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     108

    1     export violation on the phone, hard drive, computer or other
    2     digital media in order for the search to be reasonable. And
    3     the purpose of that search has to be connected to the purpose
    4     of a border search, which is to determine whether there are
    5     custom violations, import and export violations, and to
    6     determine if someone is eligible to leave the country.
    7                Going all the way back to the 1886 case of Boyd vs.
    8     United States, the Supreme Court observed the goods --
    9     searches for goods liable to duties are totally different
   10     than a search of a man's private books and papers for the
   11     purpose of obtaining information therein or using them as
   12     evidence against him.
   13                So where are we taking this case? Like I said, you
   14     have these options. A warrant supported by probable cause is
   15     minimal burden on the government and would protect this
   16     sensitive information to the best of its ability, but at the
   17     very least reasonable suspicion is required, and there is not
   18     reasonable -- there was not reasonable suspicion to believe
   19     Mr. Ramadan had evidence of a Customs violation on his phone.
   20                I know the government has made that assertion; that
   21     the facts that that is a criminal offense alone provides a
   22     basis to search his -- his digital device. But, again, I'm
   23     going back to kind of really elementary principles, Zurcher
   24     vs. Stanford Daily, 436 U.S. 547, at page 554, says that
   25     there is a need to establish that the evidence of a crime


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2181      Page 109 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     109

    1     will be in the place searched.
    2                Officer Armentrout, Officer Schmeltz, neither one
    3     of them had any reason to believe that the Seagate hard drive
    4     would contain any information having to do with the export
    5     violations. There is no testimony of that.
    6                So what do we have? We have the fact that this HSI
    7     tip from 2010, stale information, at least seven years old,
    8     an anonymous tip with a ludicrous claim. The Supreme Court
    9     has said over and over again that anonymous tips without
   10     corroborating evidence are insufficient to support any kind
   11     of reasonable suspicion or probable cause, particularly when
   12     something like an anonymous tip line where anybody, even a
   13     disgruntled neighbor, can come -- can call in and make a
   14     claim about someone.
   15                Officer Schmeltz admitted as much on the stand;
   16     that it is not really something that you pay attention to
   17     because it doesn't mean a whole lot.
   18                Then you have export violation. Again, just
   19     because an export violation has occurred doesn't mean you can
   20     go into a hard drive. There has got to be a connection.
   21                Then, you know, his answers were they say
   22     suspicious or untruthful. He said that he had -- he was a
   23     carpenter, he had worked construction, and that he planned to
   24     go overseas to film the conflict in -- on the West Bank. He
   25     had lots of cameras in his luggage, and he had a vest


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2182      Page 110 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     110

    1     indicating press. These are not untrue statements. There is
    2     nothing bizarre about it. Photo journalism nowadays is not
    3     something you necessarily get a degree for.
    4                Many people can -- I can actually testify from
    5     personal experience; my husband and I went and lived in
    6     Russia. He had no journalism experience, and he was hired to
    7     write -- to report on issues in Russia. That's not the way
    8     modern journalism works. So the fact that he didn't have his
    9     credentials or a degree doesn't mean a whole lot.
   10                So what are we left with? A man named
   11     Yousef Ramadan who's going with his family, his whole family,
   12     to Bethlehem to take care of an aging father who likes -- who
   13     has an affinity for guns and, you know, BB guns, shooting,
   14     camping, and who wants to -- and he has some of those items
   15     in his luggage. That's it. There's no reason to suspect
   16     that any information related to a Customs or immigration
   17     violation will be on those hard drives.
   18                Turning to the issue -- I know that it has come up
   19     a lot in the case law regarding forensic versus manual
   20     searches. Testimony at these hearings suggest that this was
   21     more than just casually flipping through. I mean, I'm sure
   22     Your Honor has -- can open up a file on the computer and
   23     there are various documents, and you can click and open them.
   24     This was more than that. We heard testimony that there was
   25     proprietary software that allowed kind of a speedier review


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2183      Page 111 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     111

    1     of the media. And as Mr. Ramadan testified, he and the
    2     defense team have spent hours and hours individually clicking
    3     on each photo and each image and each video. It is not
    4     possible to review it in four hours, manually clicking
    5     through; it simply is not possible.
    6                And so there is evidence to suggest that this
    7     requires specialized software, not to mention the fact that
    8     any kind of review that they would need would have to
    9     preserve the metadata, would have to make sure it wasn't
   10     altering any aspect of the file in case it is used for future
   11     prosecution of some kind. And so there's ample reason at
   12     least to believe -- I recognize there's not testimony to
   13     this. There was testimony about software, but some special
   14     software was used; it wasn't just a manual search.
   15                Even so, that distinction between forensic and
   16     manual searches is pretty meaningless. In fact, one of the
   17     things that in Carpenter the Supreme Court was really
   18     concerned about was the ease with which you could reconstruct
   19     someone's life in rather simple ways using cell site-tower
   20     information. You can learn a whole lot about someone's
   21     personal life just by manually going through a computer. You
   22     don't need special software to open an e-mail; you don't need
   23     special software to open an app that might take you to bank
   24     statements. It is -- the distinction is meaningless.
   25                And I think the best evidence we have of that comes


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2184      Page 112 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     112

    1     from Riley where there were two types of cellphones at issue.
    2     One defendant had a flip phone, one of those sort of old
    3     phones back when, you know, it flipped open, didn't have any
    4     other features to it other than maybe taking a photo, and
    5     then there was a smartphone. The Supreme Court said there
    6     was really no differences. Both phones in order to search
    7     them required a warrant.
    8                So I recognize the Supreme Court has not talked --
    9     has not spoken on this issue directly, but they have provided
   10     a lot of clues about how courts in your position should go
   11     about looking at new -- about -- looking at Fourth Amendment
   12     rights in the digital age.
   13                In the end, we are talking about the remedy. I
   14     talked about the remedy for statements, but I want to talk a
   15     little bit about the remedy for the Fourth Amendment
   16     violation here and the search of the digital media. The
   17     government, in its initial brief, made the argument that the
   18     contents of the storage unit were inevitably discoverable.
   19     There has been no evidence in this record at all regarding
   20     any investigative efforts they were making that would have
   21     led them to that storage unit independent of Mr. Ramadan's
   22     statements, so I think it's very easy to dispose of that.
   23                The bigger issue is good faith, and really extreme
   24     expansion of what Davis says about good faith. Davis talked
   25     about, you know, it was about the good old days. Maybe the


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2185      Page 113 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     113

    1     Court remembers the confusion about Belton searches and the
    2     change that Gant brought about. And what happened is that --
    3     is that Mr. Davis' car was searched before Gant was decided
    4     but while -- but as it was on appeal, he argued that Belton
    5     was wrongly decided and a different standard should apply,
    6     and while his case was pending on appeal the Supreme Court
    7     decided Gant. So you have a dramatic change in the law while
    8     it was going on. And the officers in that case had followed
    9     existing Supreme Court case law to the letter.
   10                We have a very different circumstance here because
   11     there is not a Sixth Circuit case directly on point after
   12     Riley. Even before Riley -- I know the government has argued
   13     that Stewart is directly on point. I have pointed out the
   14     reason why that's not true because Stewart did not raise this
   15     specific issue, and it would have been an advisory opinion if
   16     the court had reached the question of whether search of a
   17     digital device at the border is unconstitutional without a
   18     warrant. In addition -- and so you can't take a whole lot
   19     from Stewart.
   20                In the interim between Stewart, there was Riley,
   21     and Riley was a pretty big shift, as the DOJ recognized, and
   22     recognized the concerns and the implications that Riley would
   23     have for border searches.
   24                Then in 2015 there is Lichtenberger, which I cited
   25     in all of my briefs, that acknowledge this difference in how


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2186      Page 114 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     114

    1     Riley made clear that the balance between the government's
    2     interest and privacy in digital devices shifted. So to the
    3     extent that -- so they cannot argue that there is a case
    4     clearly on point after Riley that authorizes this search.
    5                So what are officers supposed to do in this gray
    6     zone? The answer is get a warrant. If the state of the law
    7     is unclear, officers should take caution to ensure that
    8     liberties -- civil liberties are protected. They should not
    9     try to interpret case law on their own and assume that
   10     everything that they are doing is fine.
   11                And here, you know, the case law is going -- is
   12     going different ways. It is not a case where there is a
   13     specific case on point after Riley, authorizing this conduct
   14     in saying that it is appropriate. And there is ample reason
   15     for these officers to believe that the -- that searches of
   16     digital devices at the border are not reasonable without a
   17     warrant or some level of suspicion.
   18                There is the other issue that was left open by
   19     Davis which is when -- you don't want constitutional law to
   20     ossify, which is what will happen if there is no remedy for
   21     any violation. And so the -- there was some implication that
   22     a defendant who raises an issue and prevails, even if it is
   23     novel, should get a benefit of a suppression order.
   24                And then there is the final issue of deterrence.
   25     In this case these officers acted like just because they were


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2187      Page 115 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     115

    1     at the border, it was a constitution-free zone. They
    2     repeatedly said we don't interrogate people at the border.
    3     We don't have to give Miranda warnings at the border. Even
    4     if Mr. Ramadan had asked for a lawyer, we wouldn't have to
    5     give him one. That is not the law. So either they need to
    6     have retaining or they need to be sent a message that this
    7     kind of unconstitutional conduct will not be tolerated.
    8     There will be consequences, and one of the consequences is
    9     suppression of the evidence.
   10                Unless the Court has questions, I'm done.
   11                THE COURT: Thank you. Good argument. Government.
   12                MR. MARTIN: Your Honor, I'm going to address the
   13     motions one at a time because they all have their own unique
   14     legal analysis that the Court has to go through.
   15                And if I had a criticism of the defense's argument
   16     there, I would say they just kind of lumped it all together
   17     and didn't really articulate what the legal standard was for
   18     each of their pending motions, so I'm going to do that, and
   19     I'm going to start where Ms. Fitzharris left off and that's
   20     the border search.
   21                First off, the burden. Mr. Densemo earlier accused
   22     me of taking the position with respect to the burden as part
   23     of a grand conspiracy to undermine the rights of the
   24     defendant. We have briefed this topic now separately.
   25     There's clear Sixth Circuit case law that says that it is the


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2188      Page 116 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     116

    1     burden on the moving party, the party moving to suppress, to
    2     persuade the Court that the evidence should be suppressed,
    3     that a violation has taken place in some way.
    4                So in this case that's the defense. The defense,
    5     their motion, they have the burden to establish that
    6     Mr. Ramadan's Fourth Amendment rights have been violated, and
    7     that the evidence should be suppressed.
    8                The burden issue changes depending on the Miranda
    9     issue and then the due process, so I will address the burden
   10     when I talk about those, but at least with respect to the
   11     Fourth Amendment issue, the burden is on the defense, and
   12     they have not met that burden.
   13                In large part, because there was no evidentiary
   14     burden ever to meet, because as a matter of law, a search of
   15     electronic devices at the border does not require a warrant,
   16     and there is no federal case from any district or any circuit
   17     that requires a warrant to search electronic devices at the
   18     border, none.
   19                So the defense says, well, okay, this Riley
   20     decision that had to do with search incident to arrest, that
   21     changed the landscape, and now because cellphones are so, you
   22     know, important to our daily lives and, you know, contain
   23     such sensitive information that, you know, this has
   24     dramatically changed the situation. We are in a new world, I
   25     think is the claim.


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2189      Page 117 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     117

    1                And when I was looking -- this is sort of an aside,
    2     but I think it is relevant, so I'm going to raise it. I was
    3     looking at cases involving searches at the border, and there
    4     was a case from the 1970s involving a search of international
    5     mail. And the Circuit for the District of Columbia ruled
    6     that probable cause was required to search mail at the
    7     international border. And the D.C. Circuit said, and this is
    8     a quote, "Letter mail is a vital means of communication in
    9     our society. Letters express the most important and
   10     sensitive of personal, familial, political, professional and
   11     financial affairs. They implicate both our deepest privacy
   12     and our interest in free expression far more than packages or
   13     suitcases or automobiles. In the words of Justice Holmes,
   14     the use of the mail is almost as much a part of free speech
   15     as the right to use our tongues."
   16                This is so dramatic, but when I read that, what I
   17     think is, boy, the more things change, the more they stay the
   18     same. You know, what a letter was in the 1970s, we now hear
   19     defense counsel arguing is the equivalent of a cellphone in
   20     the modern day and age.
   21                And there are probably some differences; the volume
   22     of information that a cellphone can hold is definitely
   23     different than a letter, and that's been cited by the Supreme
   24     Court in some of their recent cases. But volume and a lot of
   25     these issues break down at the international border because


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2190      Page 118 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     118

    1     at the international border the volume of material the
    2     government can lawfully search is huge.
    3                I look out my office and I see hundreds of trucks
    4     crossing the Ambassador Bridge every hour. You see those
    5     freighters going down the Detroit River. How much data, how
    6     much packages, how much paper could a semitruck or a
    7     freighter hold? And the Customs and Border Protection
    8     officers are responsible for inspecting all of that.
    9                In fact, a recent case from another circuit pointed
   10     out you could take your mobile home to the border, your home,
   11     and it could be subjected to a border search, your bedroom,
   12     and that is permissible because you are at the border.
   13     Things are different at the border, and that is what the
   14     Supreme Court has said time and time and time again. Merely
   15     because you are at the border gives the government a right to
   16     search your conveyances and your materials with no warrant.
   17                Now, the next step that the defense is taking and
   18     says, okay, fine, no warrant is required but at least
   19     reasonable suspicion. And there are a couple circuits, I
   20     think it is the Ninth and the Fourth, that have said that
   21     looking at people's digital devices at the border requires at
   22     least reasonable suspicion.
   23                The Sixth Circuit has taken the exact opposite
   24     position in a case called Stewart that Ms. Fitzharris alluded
   25     to. And this case is a critical case, I have talked about it


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2191      Page 119 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     119

    1     at some length before, and I'm going to go over it again with
    2     the Court because it is so important and because it is
    3     binding precedent on you.
    4                In Stewart an individual was flying in from Japan
    5     and he had computers on him, laptops. Customs and Border
    6     Protection looked at the laptop -- some of his other
    7     electronic devices and saw what they thought could be child
    8     pornography, like on a cellphone or something. They tried to
    9     power up the laptop to look at that, but they couldn't do it
   10     because the battery was dead, and they didn't have a cord
   11     to -- an appropriate-sized cord or something like that to
   12     plug in and actually power it up at the airport.
   13                So they gave it to the Immigration and Customs
   14     agents, who are all part of the Department of Homeland
   15     Security, and they transported it 20 miles to downtown
   16     Detroit, and the next day they conducted an examination of
   17     that laptop.
   18                The case was actually before Judge Lawson; it came
   19     out of our District. And Judge Lawson held that because the
   20     laptop was transported downtown it became an extended border
   21     search, it wasn't a search at the actual border, but it
   22     became an extended border search and therefore required
   23     reasonable suspicion, not a warrant but at least reasonable
   24     suspicion. And he said they had reasonable suspicion to
   25     search it, so he denied the defense motion to suppress.


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2192      Page 120 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     120

    1                When the case -- the defendant was convicted, case
    2     goes up to the Sixth Circuit, and the Sixth Circuit says we
    3     are affirming the denial of the motion to dismiss, but we are
    4     doing so for different reasons. This was not an extended
    5     border search. Customs and Border Protection and HSI are
    6     allowed to take a laptop down to Detroit and search it the
    7     next day, that's a border search, and it requires no warrant
    8     and no reasonable suspicion. That case is the status of the
    9     law in our circuit as of today.
   10                So when the officers are at the airport and someone
   11     comes in with an electronic device, if they have a
   12     Sixth Circuit decision that says they can take that
   13     electronic device downtown and search it the next day,
   14     certainly they can search it there at the airport with no
   15     reasonable suspicion or warrant. And that's what the
   16     officers in this case that's -- that was the position they
   17     were in.
   18                Almost every case that I've looked at, almost every
   19     case, and I've laid them out in our brief, I think there is
   20     now over 15 or 16 different cases, say that Riley, this new
   21     decision from the Supreme Court that dealt with search
   22     incident to arrest, did not change the law when it comes to
   23     border searches.
   24                And the most recent case -- I shepardized it before
   25     I came, is a case from the Eleventh Circuit, I believe it was


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2193      Page 121 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     121

    1     decided in May of this year, and it is United States vs.
    2     Touset. It is on page 10 of our brief, Docket Number 96.
    3     "Riley, which involved the search incident to arrest
    4     exception, does not apply to searches at the border. Nothing
    5     in Riley undermines the government's interest searching at
    6     border." Nothing undermines the government's interest
    7     searching at border. And they go on to say, "The
    8     Fourth Amendment does not require any suspicion for forensic
    9     searches of electronic devices at the border."
   10                So there is a big body of case law in response to
   11     Ms. Fitzharris. There is a large body of case law that cuts
   12     against the defense. And even those cases that say -- after
   13     Riley that some level of suspicion is needed, it's not a
   14     warrant, it's simply reasonable suspicion. And even if the
   15     Court were to require that, we have it here. You know, think
   16     about the facts that the officers had in front of them before
   17     they went and searched -- before Officer Armentrout started
   18     looking at that electronic media. They had the
   19     export-controlled body armor, the export-controlled rifle
   20     scope, the export-controlled Taser in his luggage. And I
   21     know because I have had export-controlled cases in front of
   22     Your Honor, that you know that export violations can be
   23     violations of federal law. So right there the contraband is
   24     in the bag. That would give reasonable suspicion to search,
   25     that and that alone.


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2194      Page 122 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     122

    1                But then on top of that they had, well, his weird
    2     story about being a reporter in the Middle East when he had
    3     no experience or credentials being a reporter. They had his
    4     explosive reaction when he -- when they asked him to look at
    5     his cellphone. If you recall, that's when the agents
    6     testified that he got really aggressive, and that's when the
    7     handcuffs came on.
    8                So you have all of these other factors pointing
    9     toward reasonable suspicion, but finding the evidence in the
   10     luggage in and of itself is sufficient, so we meet that
   11     standard even here, even though it is not required we meet it
   12     here.
   13                Lastly, I would point out that I don't even think
   14     you need to wade into -- if you didn't want to, I don't think
   15     you need to even wade into deciding whether a warrant or
   16     reasonable suspicion is required because you have the good
   17     faith exception.
   18                As I mentioned earlier, officers -- these officers
   19     would have looked at that Stewart case in our Circuit and
   20     they would have said to themselves, we are not doing anything
   21     illegal here, this is permitted.
   22                But the other key fact is not only would they have
   23     the perception of what they did was permitted at the time at
   24     the airport, but then a few days later the FBI went to a
   25     federal judge and got a federal search warrant for those same


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2195      Page 123 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     123

    1     exact electronic devices. So the government did the right
    2     thing. We did get a warrant, unlike so many of these other
    3     cases where they just look at it at the border, and then the
    4     prosecution proceeds. The sequence of events here is they
    5     examined the devices at the border, devices are detained,
    6     government obtains a Federal search warrant for those
    7     devices, and now they are -- the defense is here attempting
    8     to suppress the evidence from the storage locker and those
    9     devices that was based on a federal search warrant.
   10     Certainly the agents executing the -- the FBI agents
   11     executing those warrants for the devices and the storage
   12     locker were entitled to rely on that warrant. That's the
   13     very definition of good faith.
   14                So there really is no reason for the Court to
   15     suppress the evidence here under the Fourth Amendment. So
   16     that's going to conclude my remarks with respect to the
   17     Fourth Amendment.
   18                Let me move on now to suppression of the
   19     statements, and there are two separate lines of inquiry here
   20     that we have to look at, and they are completely different,
   21     completely different.
   22                The first is did the government -- did the agents
   23     and officers, at the time they took the statements from the
   24     defendant, violate its Fifth Amendment rights by not
   25     Mirandizing him? And then there is a separate argument that


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2196      Page 124 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     124

    1     is a separate legal analysis. Did they violate his
    2     Fifth Amendment rights to due process by coercing him? Two
    3     separate lines of inquiry here.
    4                Let me focus on the Miranda. The question under
    5     the Miranda is, is the defendant here in custody? The law
    6     defines custody in this area as being under a formal arrest
    7     or a restraint on freedom of movement of the degree
    8     associated with a formal arrest. So either you are actually
    9     under arrest or there's such a restraint on your freedom that
   10     it is just like you being under arrest -- under arrest.
   11                And back to the issue of burdens, Your Honor, the
   12     defendant must demonstrate by a preponderance of the evidence
   13     that he was entitled to receive Miranda warnings, i.e., that
   14     he was subjected to a custodial interrogation. So here back
   15     to the burden issue, it is the defendant's burden to prove to
   16     you by a preponderance of the evidence that he was in
   17     custody, i.e., that he was either arrested or there were such
   18     restrictions on him that it was just like an arrest.
   19                And the inquiry is not subjective. It doesn't
   20     matter what Mr. Ramadan believed, and it doesn't matter what
   21     the interrogating or questioning officers believed. The
   22     only -- and this is a quote from the Supreme Court, Berkemer
   23     vs. McCarty, a 1984 case, 468 U.S. 420. "The only relevant
   24     inquiry is how a reasonable man in the suspect's shoes would
   25     have understood his situation."


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2197      Page 125 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     125

    1                So it is an objective analysis here. We don't care
    2     about what Mr. Ramadan thought, we don't care about what the
    3     intentions or the motives of the officers were, just what
    4     would an objective person who is in his exact situation
    5     understand the situation to be. And to figure this out, it
    6     is a totality of the circumstances analysis, so you look at
    7     everything.
    8                In a way the Sixth Circuit has already answered
    9     this question for you because of this Galloway case,
   10     United States vs. Galloway, that Ms. Fitzharris mentioned.
   11     In that case, the Sixth Circuit ruled, "we hold that Miranda
   12     is inapplicable because a secondary Customs inspection is a
   13     routine noncustodial detention." So generally speaking
   14     Miranda is not required.
   15                But what about the fact that you are not free to
   16     leave? Doesn't that make this like an arrest, the
   17     not-free-to-leave kind of view? The answer is, no, and we
   18     know that from another Sixth Circuit case, United States vs.
   19     Ozuna, it's a 1999 case, and it dealt with a Customs
   20     inspection. It dealt with a Customs inspection. Here is
   21     what the Sixth Circuit said. They said, "Every day thousands
   22     of travelers come into the United States, and, quote, each is
   23     detained until a search has been made of his --" I'm sorry.
   24     "Each is detained until a search has been made, or his
   25     answers to questions have convinced the custom agent that no


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2198      Page 126 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     126

    1     search is necessary. To say that by reason of such detention
    2     each is in custody would distort the Miranda rule beyond
    3     recognition."
    4                So just because you are in a secondary inspection
    5     doesn't mean you are arrested, and it doesn't mean you are
    6     detained like an arrest. And the Sixth Circuit has said in
    7     the Galloway case that I mentioned, "although we had once
    8     stated the Miranda standard as being whether a defendant
    9     feels free to go, Ozuna demonstrates that this standard is
   10     not correct."
   11                And, of course, if you think about it, we all know
   12     that's true. I mean, what is the most common situation that
   13     an everyday American would experience this exact dichotomy in
   14     their everyday lives? A traffic stop. When you are pulled
   15     over by the police, you are not free to leave. You can't
   16     just say, officer, have a nice day, I'm out of here. You
   17     have to stay there until the officer is done giving you your
   18     ticket or letting you go. But when the officer comes up to
   19     your car and says roll down the window, you do. And he says
   20     do you know why I pulled you over? And you say, yeah, I
   21     think I was going over the speed limit. That's admissible
   22     against you, he didn't Miranda you, you are not free to
   23     leave, but Miranda is not applicable. Why? Because the not
   24     free to leave is not the correct inquiry. The correct
   25     inquiry is what would an objective person understand their


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2199      Page 127 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     127

    1     situation to be. Would an objective person understand a
    2     traffic stop to be they are arrested? Well, no, of course
    3     not. Would an objective person believe a secondary
    4     inspection at the international border means they are
    5     arrested? Of course not because so many people do it on such
    6     a routine basis. Everybody has to go through Customs at the
    7     border. Sometimes that Customs inspection is short,
    8     sometimes it is long, but the fact is everybody has to go
    9     through it, and you understand you are not under arrest when
   10     you do.
   11                The length of time, the questions they ask, none of
   12     those things convert a normal Customs inspection into an
   13     arrest, none of them.
   14                There are cases -- the Ozuna case again, and I cite
   15     it because it is a Sixth Circuit case from 1999, says,
   16     "Brevity is not a precondition of lawfulness of questioning
   17     at the border. There is no fixed time limit to the length of
   18     the questioning, and its duration is simply one factor to
   19     consider in assessing the lawfulness of the officer's
   20     activity. A defendant must do more than simply show that the
   21     questioning somehow deviated from the questioning of the
   22     average Customs interrogee. And the length of the interview
   23     can result from the defendant's own acts namely giving
   24     incomplete and inconsistent answers which necessitated
   25     repetition of the questions." That's the Ozuna case.


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2200      Page 128 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     128

    1                And I would submit to the Court that that is what
    2     we had here. The officers looked in his bags, they find
    3     these suspicious items; sort of odd that you are moving to
    4     the Middle East and you've got export-controlled body armor,
    5     rifle scope and Taser in your bag, along with a bunch of
    6     paramilitary material, clothing, ammunition pouches, a rifle
    7     grip, knives, a gas mask, other body armor. Unusual, so they
    8     ask him questions about what he's doing; this is in the first
    9     interview with Officer Schmeltz and Officer Armentrout. And
   10     he says I'm moving to the Middle East to be a reporter. So
   11     they say to him, do you have any credentials? Have you ever
   12     been a reporter before? Who is your press contact? He can't
   13     answer any of those.
   14                So then they say, okay, let's look at your
   15     cellphone. He won't provide the password. When they asked
   16     him again, he becomes really agitated, so much so that they
   17     had to put him in handcuffs. He's not being cooperative, and
   18     that necessitates looking at the electronic media, and that's
   19     what they do next, and that necessitates further questioning,
   20     and that's what they do later on in the conference room. So
   21     all of that transpires because initially he's not giving
   22     clear answers, and he's not being helpful in them conducting
   23     their inspection.
   24                Lastly, with respect to the Miranda, I want to
   25     point out that even if you were to find a Miranda violation,


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2201      Page 129 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     129

    1     which I'm not inviting you to do obviously, but even if you
    2     were, that does not mean that the search warrant should be
    3     suppressed. A finding of a Miranda violation would just
    4     require suppressing the actual statements at the trial, not
    5     suppression of the search warrant that incorporated the
    6     statements, and that's because the fruit of the poisonous
    7     tree doctrine does not apply to the collection of physical
    8     evidence that is based on the illegally obtained
    9     un-Mirandized statements, and that's a Sixth Circuit case.
   10                "The fruits of the poisonous tree doctrine does not
   11     apply to physical evidence seized as a result of a Miranda
   12     violation." United States vs. Bradley. It is a
   13     Sixth Circuit case from 2005. And that case is based on a
   14     Supreme Court case from 2004, United States vs. Patane. And
   15     if you look that case up, you will see that that proposition
   16     of law is very well entrenched. This Patane case is cited
   17     repeatedly by many circuits for the idea that the fruit of
   18     the poisonous tree doctrine doesn't apply to Miranda
   19     violations in search warrants.
   20                Okay. Lastly, the voluntariness of the statement
   21     under the due process clause. With respect to burdens, here
   22     it is the government's burden to show that the statement was
   23     voluntary. But unlike the Miranda issue, the voluntariness
   24     issue does have a subjective component to it. It is not
   25     solely an objective inquiry.


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2202      Page 130 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     130

    1                Here are the three questions you have to ask
    2     yourself. Number one, was the police activity objectively
    3     coercive, not that Mr. Ramadan believed it was, but was it
    4     actually objectively coercive? Number two, was the coercion
    5     in question sufficient to overbear the defendant's will? So
    6     here is the subjective part; did it, in fact, overbear
    7     Mr. Ramadan's will assuming it was objectively coercive? Was
    8     he actually coerced by it? And, number three, did the
    9     misconduct -- excuse me. Was the misconduct a crucial
   10     motivating factor in the defendant's decision to speak?
   11                So you could conceivably find yourself in a
   12     situation where the police acted objectively, coercively.
   13     The coercion did, in fact, overbear the defendant's will at
   14     some point, but that coercion was not the reason he made the
   15     statement. Maybe he made the statement for some other reason
   16     because he was trying to help a friend who was a codefendant
   17     and wanted to take the blame himself, for example.
   18                So those -- all three of those things must be
   19     present, and what that shows you is this is a very high bar.
   20     Government coercion is not enough to suppress a statement for
   21     a due process violation.
   22                It, like the Miranda issue, is a totality of the
   23     circumstances, so you look at everything. You look at who
   24     the defendant is, you look at what the agents were doing, you
   25     look at the circumstances. And we've -- we've debated a lot


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2203      Page 131 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     131

    1     between the parties about the circumstances of the events at
    2     the airport. Many of the most egregious allegations made
    3     with respect to police -- or law enforcement misconduct are
    4     allegations that have only been attested to by the defendant
    5     himself. There's no other corroboration for the most
    6     egregious allegations. Things like the beating that the
    7     Court has referenced, he's the only one that testified to
    8     that. There is no corroboration of any kind, no photos of
    9     any injuries, no evidence that he ever went to a doctor to be
   10     treated for any injuries. It was just his testimony on the
   11     stand which was contradicted by all of the law enforcement
   12     officers.
   13                 But other things like he was told that he was
   14     good -- he would go to Guantanamo Bay. He's the only one
   15     that testified to that. The officers never agreed they said
   16     that to him.
   17                 He was the only one who said he was handcuffed in a
   18     painful fashion. I remember him saying that he was
   19     handcuffed, and his hands were put behind his back, and they
   20     intentionally raised his arms to cause him pain. He's the
   21     only one who testified to that. None of the officers agreed
   22     with any of that.
   23                 So the same thing with -- you know, he testified
   24     that he asked for a lawyer and that he said that he didn't
   25     want to talk anymore, and they kept pestering him, and he


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2204      Page 132 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     132

    1     asked to invoke his rights and all of that. None of the
    2     agents testified to that.
    3                So the most egregious conduct comes solely from
    4     him. And as I'm sure the Court can understand, the
    5     government does not find him to be a credible witness. He's
    6     committed crimes of dishonesty in the past. He's -- he's
    7     admitted in his own testimony that he lied to the officers
    8     that night. Remember, he testified that he initially told
    9     them that his guns were in a storage locker, but he, himself,
   10     admitted that he then changed the story and said they were
   11     with a friend. He acknowledged that that was lie. He's also
   12     said -- he said in his testimony, I think too, that he has
   13     memory problems from a head injury of some kind. So he is
   14     not a very credible witness.
   15                And so if you take away the most egregious
   16     allegations, what's left in terms of objective evidence that
   17     the government engaged in coercion? Well, it is things like
   18     the size of the interrogation room was really small, there
   19     were plaques on the wall citing a U.S. code, the officers had
   20     guns holstered, you know, under their civilian clothing,
   21     those sorts of things.
   22                And in -- but what I was looking for was a
   23     supplemental brief that we filed on the topic of the
   24     suppression of the Fourth Amendment as well as the
   25     Fifth Amendment due process. I was looking for -- oh, here


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2205      Page 133 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     133

    1     it is. It is Docket Number 96. We lay out the case law that
    2     says, look, being interrogated in an 8-by-10 interrogation
    3     room, there are cases that says that's a normal interrogation
    4     room and that's not coercive.
    5                How about the presence of firearms? There are
    6     plenty of cases that say the mere presence of firearms is not
    7     coercive as a matter of law. It would be a different story
    8     maybe if the officers pulled them out and said confess or I'm
    9     going to shoot you, but that didn't happen here.
   10                So all of these factors, when you start breaking
   11     them down, none of them are in and of themself coercive, and
   12     none of them rise to the level of coerciveness when you
   13     combine them. And the fact is none of them actually coerced
   14     Ramadan in this case, and that's the second factor.
   15                Think about what he testified to. How many times
   16     did he say in his testimony that he resisted the agents'
   17     demands that he give a password to his cellphone? I mean,
   18     his version is he must have resisted it two dozen times. You
   19     know, his version is they kept asking me and asking me, and I
   20     kept saying no, it's my honor, I'm not going to give you my
   21     cellphone password. Well, if you are really coerced and not
   22     acting under your free will, you can't say no, that's the
   23     whole definition of being coerced.
   24                Or what about his testimony about changing his
   25     story about the storage locker? You know, a coerced person


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2206      Page 134 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     134

    1     wouldn't give one version and then make up the story about
    2     the friend if someone had truly lost their will to exercise
    3     control of themself.
    4                And then the last factor, that the coercion has to
    5     cause the confession also doesn't really exist here because
    6     the most egregious form of coercion that he alleges, the
    7     beating, took place at the end of the night allegedly when
    8     all the questioning had ceased. So there is no way the
    9     second handcuffing, the punching, none of that could have
   10     affected his statements or coerced his statements because
   11     there were no statements after those alleged acts took place.
   12                We are back to at the end of the day him in the
   13     interrogation room -- interview room, excuse me, in an
   14     8-by-10 interview room with glass walls looking out into a
   15     lobby in the secondary Customs inspection area where anybody
   16     who is subjected to a secondary Customs inspection goes, and
   17     he's interviewed for a period of -- well, initially in the
   18     Schmeltz and Armentrout interview he's interviewed for 40 to
   19     45 minutes, that's the length of the first interview. And
   20     during that interview he's handcuffed, according to Schmeltz,
   21     for five to ten minutes while he calms down because he was
   22     getting aggressive, and then the handcuffs were taken off.
   23     All of the officers testified that when he went into that
   24     second interview in the break room where they sat around a
   25     round table and talked. He was not handcuffed in that, and


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2207      Page 135 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     135

    1     that lasted for an hour to an hour and a half. So you are
    2     talking two hours total -- a little over two hours of
    3     questioning at the border. That's not a coercive length of
    4     time. The Supreme Court cases and other cases have said a
    5     coercive length of interrogation is days, not a few hours.
    6                 So, Your Honor, the statements in this case were
    7     voluntary, there was no coercion, Miranda warnings were not
    8     required, and there was no violation of his Fourth Amendment
    9     rights because suspicionless searches at the border are
   10     permitted under the law. So for those reasons I would ask
   11     the Court to deny the defendant's various motions to
   12     suppress.
   13                 THE COURT: Thank you. Reply.
   14                 MS. FITZHARRIS: Yes, Your Honor. I'm going to
   15     begin by addressing the voluntariness issue, and there's a
   16     lot of conflicting testimony. There's really no -- I won't
   17     disagree with that. But there's a lot of interlocking
   18     testimony, and I think there are a lot of ways that the
   19     interlocking and overlapping testimony from Mr. Ramadan and
   20     the officers shows the coercive environment.
   21                 Mr. Martin is suggesting -- is citing cases that
   22     talk where you look at one factor, the length of time, that
   23     alone, two and a half hours is not enough to be coercive.
   24     That's not the test, it's the totality of the circumstances.
   25                 True, mere presence of guns is not enough to be


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2208      Page 136 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     136

    1     coercive. But what do you have when you keep somebody for
    2     eight hours, plus you have presence of guns, plus you have
    3     aggressive questioning, plus you have questions about whether
    4     you like Jews and, hey, it's okay, I don't like Jews either
    5     because I'm German, right. How far -- it is all of these
    6     things combined. The government can't cannibalize it down to
    7     one particular factor.
    8                And it is not true that a coercive environment must
    9     be days, interrogation must be days, or that the actual
   10     questioning has to be days. Mr. Ramadan was questioned
   11     multiple times over a span of about eight hours in the wee
   12     hours of the morning. The government cannot break it down
   13     like that.
   14                I'm going to talk a little bit about some
   15     overlapping testimony, the things that I think is very clear
   16     to everyone. Descriptions of the room, it's all the same.
   17     Everyone agrees there were guns. Everyone agrees there was a
   18     significant length of time. Although there is some testimony
   19     about who put handcuffs on who, we all agree Mr. Ramadan was
   20     put in handcuffs.
   21                Mr. -- Officer Brown said that he did put his hands
   22     on Mr. Ramadan, and Agent Thomas testified to that. We know
   23     that he at least physically restrained him. There was
   24     some -- they deny that he actually had handcuffs, and he put
   25     them on. I submit that's simply not credible. Until today I


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2209      Page 137 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     137

    1     would have said that Agent Kelley's testimony was the most
    2     credible of all of them, and he said that Officer Brown put
    3     handcuffs on Mr. Ramadan in the central area -- waiting area
    4     of the secondary inspection area.
    5                But what we did hear the officers actually say is
    6     that Officer Brown physically restrained Mr. Ramadan towards
    7     the end of the evening when they were talking about the
    8     storage unit. That overlaps. It overlaps. Mr. Ramadan
    9     testified that Officer Armentrout asked him about whether he
   10     liked Jews. Officer Armentrout admitted that. These are not
   11     routine questions.
   12                And all of the circumstances taken together, the
   13     government doesn't want to touch these circumstances about
   14     his children and the psychological impact that it has on a
   15     person to have your children crying and wetting themself and
   16     then disappear without really knowing where they are. Sure,
   17     they were safe, but that has a tremendous psychological
   18     impact on a person, and they want to ignore that.
   19                And so the government correctly states the law, it
   20     does require objectively coercive circumstances, and there
   21     is. The reason I analyzed that together with Miranda has to
   22     do with the fact that there is overlap because Miranda
   23     warnings come into play when there is that coercive
   24     environment of an arrest and an interrogation. For all the
   25     reason that I laid out before, we have this here.


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2210      Page 138 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     138

    1                Government also wants to have it both ways when it
    2     comes to Mr. Ramadan. They want to say he extended the
    3     interrogation because he was being uncooperative, but, you
    4     know, he couldn't possibly have -- his statements must be
    5     voluntary because even though he was being uncooperative, he
    6     made some statements. It doesn't work like that. He did not
    7     want to talk to them. He did not want to answer their
    8     questions. It was because of the coercive environment, the
    9     repeated questioning of it, that he felt that in order to
   10     just go home he had to talk, and it was the motivating
   11     factor. There was no other reason for him to talk at all.
   12     It is not like the circumstance Mr. Martin was talking about
   13     about where he was trying -- where there was some other
   14     reason behind his statements. So I think the evidence shows
   15     that his statements were not voluntary.
   16                Turning to the Miranda issue, Mr. Martin made some
   17     statements about the case law that are just not accurate that
   18     really need to be corrected.
   19                The first has to do with Galloway. Galloway -- the
   20     defendant said that routine -- argued that routine secondary
   21     Customs inspection and Miranda warnings were required. The
   22     key there is routine. But the Sixth Circuit went on to say
   23     that when there are circumstances where the questioning
   24     transforms beyond the routine, and they said something along
   25     the lines of when there is probable cause to believe a crime


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2211      Page 139 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     139

    1     has been committed then we are in a totally different ball
    2     game, and that's confirmed by a number of cases admittedly
    3     out of circuit that the government has not addressed at all.
    4     And I'm going to bring them up right here in part for the
    5     sake of completeness.
    6                The first is this case out of the First Circuit, a
    7     2015 case, United States vs. Molina Gomez, 781 F.3d 13,
    8     holding that questioning by CBP agents in a small windowless
    9     room in secondary inspection constituted an in-custody
   10     interrogation.
   11                Second Circuit, 2011 case, United States vs. first
   12     name unknown, last name unknown, 653 F.3d 144, acknowledging
   13     that whether questioning at the border ripens into an
   14     interrogation may turn into a holistic -- turn on a holistic
   15     view of the facts.
   16                And then United States vs. Djibo, D-J-I-B-O,
   17     151 F. Supp. 3rd 297, that's an Eastern District of New York
   18     case, finding that a man who was at the -- leaving the
   19     country on an airplane at the airport should have been given
   20     Miranda warnings during questioning at a secondary inspection
   21     area.
   22                All of these cases say that you look at the
   23     circumstances and whether there is an objectively reasonable
   24     basis for someone to believe they are under arrest. And for
   25     all of the reasons I laid out in the -- before, I think every


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2212      Page 140 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     140

    1     single one of these is hit.
    2                I'm going to specifically cite United States vs.
    3     Swanson, a Sixth Circuit case from 2003, 341 F.3d 524. The
    4     Sixth Circuit says you look at a number of factors. The
    5     purpose of the questioning? Whether the place of the
    6     questioning was hostile or coercive? The length of the
    7     questioning? Other indicia of custody such as whether the
    8     suspect was informed at the time of the questioning that the
    9     questioning was voluntary or that the suspect was free to
   10     leave, or to request the officers to do so? Whether the
   11     suspect possessed unrestrained freedom of movement during the
   12     questioning? And whether the suspect initiated contact with
   13     the police or acquiesced to their request to answer some
   14     questions? That's Sixth Circuit case law. And so to the
   15     extent that the government has argued that it is otherwise, I
   16     respectfully disagree.
   17                On the issue of suppression and the reliance on
   18     Patane, and the United States vs. Bradley case, which is
   19     again relying on Patane. This case, we really have to go not
   20     just quote selectively from the Supreme Court, we have to
   21     look at the context of what they are saying. What they are
   22     saying is that in that circumstance where there was a search
   23     of the suspect's home, they come in, the man is arrested
   24     before he's read Miranda warnings -- or as actually they are
   25     reading them -- it's a plurality opinion, not actually a


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2213      Page 141 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     141

    1     majority opinion because there was some disagreement about
    2     what happened, but he blurts out that his gun is somewhere in
    3     the house. All right. Those statements -- then the police
    4     officers go and find the gun. At no point were those
    5     statements ever used in court or in any kind of legal
    6     document against Mr. Patane. And this is where it kind of --
    7     like going back and looking -- you know, testimony -- what
    8     exactly it means to have someone's statements used against
    9     them, and this is where the analysis -- and I'm going to kind
   10     of rely a little bit on Crawford analysis, what exactly a
   11     testimonial statement is and whether somebody's testimonial
   12     statement is being used against them at trial.
   13                And as Crawford said, some -- a person's statement
   14     in custody to police is quintessentially testimonial. All
   15     right, and particularly testimony that is incriminating. And
   16     then having those statements, those testimonial statements,
   17     used against them in a criminal proceeding that is
   18     fundamentally different than an on-the-fly criminal
   19     investigation as happened in Patane. So the logic of Patane
   20     is not applicable in this case, and that's why the proper
   21     remedy is to go through the warrant and excise the
   22     un-Mirandized statements and then assess whether there is
   23     probable cause because the government cannot cleanse the
   24     unconstitutional search by then going back and getting a
   25     warrant. Mr. Martin seemed to suggest that could be the


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2214      Page 142 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     142

    1     case; that they could unconstitutionally search digital
    2     devices, get a warrant, and then search again as if the first
    3     search never happened, while using the information gathered
    4     during the first search. That's just not the way it works.
    5                And so the proper remedy -- to remedy the
    6     violation, the unconstitutional search here, is to edit the
    7     warrant out, take out information gained through illegal
    8     means.
    9                Now I'm going to turn to the Fourth Amendment
   10     issue, the burden of proof. Mr. Martin is incorrect that we
   11     bear the burden of proof, but I think it's rather semantic at
   12     this point, right, because burden of proofs have to do
   13     with -- not with law, right. We are asking a legal question;
   14     was the search -- the warrantless search of Mr. Ramadan's --
   15     the warrantless and suspicionless search of his digital
   16     devices unconstitutional? That's a legal question. Burdens
   17     of persuasion actually don't matter much. But the Supreme
   18     Court has said that warrantless searches are presumptively
   19     unconstitutional. They cannot get around that.
   20                And so this argument about burdens of proof is kind
   21     of meaningless. I agree that it is our burden of proof to
   22     show that the circumstances were sufficiently custodial to
   23     warrant Miranda warnings, that's the case law, and that is
   24     clear. I think we have demonstrated that. And then it would
   25     be on the government to prove that Miranda warnings were


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2215      Page 143 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     143

    1     given, which they unquestionably were not, and then they bear
    2     the burden on proof on voluntariness. So on that we can
    3     agree.
    4                 On the issue of -- Mr. Martin is kind of
    5     selectively picking the cases about border searches or
    6     cellphones.
    7                 Kolsuz out of the Fourth Circuit said -- cited with
    8     Cotterman and said at least reasonable suspicion is required
    9     to search a digital device at the border. In that case they
   10     found good faith applied, but it was a case very different
   11     from here where the facts supporting reason to think there
   12     would be something on the computer were far greater.
   13                 The government does not even engage with the
   14     District of Massachusetts' opinion where the ACLU has brought
   15     a lawsuit challenging these practices where the court denied
   16     a motion to dismiss finding that the plaintiffs had stated
   17     viable claims of constitutional violations for warrantless
   18     searches.
   19                 And so the government just selectively chooses this
   20     opinion from the Eleventh Circuit which, I have fully
   21     explained in the supplemental brief, misses the mark
   22     analysis-wise. And that's what -- I'm going to close with
   23     two final things.
   24                 First, Mr. Martin referenced how letters were a
   25     usual part of life and that shouldn't control the analysis.


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2216      Page 144 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     144

    1     I have with me the opinion of Carpenter where the Court was
    2     talking about the third-party doctrine and the reasons why
    3     information shared -- certain information shared to third
    4     parties was not -- getting that information was not a search
    5     because of the diminished expectations of privacy.
    6                And in this passage I'm going to read, which is on
    7     page 16 of the opinion, says the following about Smith and
    8     Miller. "Smith and Miller after all did not rely solely on
    9     the act of sharing. Instead they considered the nature of
   10     the particular documents sought to determine whether there is
   11     a legitimate expectation of privacy concerning their
   12     contents. Smith pointed out the limited capability of a pen
   13     register, and as explained in Riley call logs reveal little
   14     in the way of identifying information."
   15                And then Miller likewise noted that checks are not
   16     confidential communications but negotiable instruments to be
   17     used in commercial transactions.
   18                But then the court goes on and says, "In
   19     mechanically applying the third-party doctrine to this case,
   20     the government fails to appreciate that there is no
   21     comparable limitations on the revealing nature of CSLI --"
   22     computer -- cellphone store -- I forget the L, but the
   23     information that cell towers collect.
   24                There is no comparable -- nothing comparable in
   25     terms of privacy and sensitive nature on digital devices,


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2217      Page 145 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     145

    1     nothing. Letters, nothing. Cellphones reveal letters,
    2     health records. I have gone through all of this. But it is
    3     not comparable to a letter, and the Supreme Court has said as
    4     much in Riley.
    5                Finally on the issue of Stewart, it is not directly
    6     on point or binding. Whether the search of the computer at
    7     the border at the airport without a warrant violated the
    8     Constitution was uncontested. We cannot draw inferences or
    9     assume binding precedent on an uncontested issue. The
   10     Sixth Circuit did not have to grapple with that issue. And
   11     Riley is an intervening case which, as I said before,
   12     Lichtenberger acknowledges. Stewart is called into question;
   13     it is not binding anymore, it was not binding on the
   14     officers, and it is not binding on Your Honor.
   15                So for those reasons you should suppress the
   16     evidence obtained as a result of the search of the storage
   17     locker.
   18                Unless the Court has questions, I'm all set.
   19                THE COURT: Thank you. All right. The Court will
   20     issue an opinion and let you know as soon as possible. All
   21     right.
   22                MR. DENSEMO: Thank you.
   23                THE COURT: Anything else?
   24                MR. DENSEMO: Judge, I would like to submit an
   25     order to have -- to allow an electronic hard drive into


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2218      Page 146 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     146

    1     Dickerson. We just received a couple of electronic external
    2     hard drives with some additional discovery and information,
    3     and we got that yesterday, and we would like the opportunity
    4     to have Mr. Ramadan go over that at Dickerson, so we will be
    5     submitting an order to the Court to allow us to take that
    6     hard drive and a laptop into Dickerson maybe Friday. The
    7     government doesn't have any objection, I don't think, to it.
    8                MR. WATERSTREET: Well, Your Honor, just two
    9     things. One, the recent providing of that information,
   10     that's because defense didn't ask for it anytime earlier.
   11                THE COURT: They did what?
   12                MR. WATERSTREET: They did not ask for that
   13     information earlier. As a matter of fact, all the way back
   14     in October and November of last year. I asked them to please
   15     provide me with the equipment so we could give them copies,
   16     and we told them it was 20 terabytes of information. They
   17     only supplied an 8-terabyte hard drive, and after going back
   18     and forth, we supplied the information they wanted. After
   19     that date they never requested it anymore. It wasn't until a
   20     couple months ago that I suggested, hey, you know, there is
   21     still this information that you may want to have, that they
   22     then contacted me and provided me with a 20-terabyte hard
   23     drive.
   24                So I want the Court and the record to be clear,
   25     since we have been alleged to have engaged in some type of


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2219      Page 147 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     147

    1     misconduct in the past, the Court to understand that's
    2     nothing on our part.
    3                As to part two of his request, I was contacted once
    4     before by defense counsel and asked for permission to agree
    5     to allow them to take a computer into a facility. We agreed
    6     with one provision, that as long as it met the requirements
    7     of Milan or the Department of Prisons. I got a phone call
    8     from an attorney at the Department of Prisons and asked why I
    9     agreed to? They said they have their own computers there
   10     that an individual can review the information.
   11                So I have no problem with the defendant looking at
   12     discovery, personally I do not, as long as it complies with
   13     whatever the Department of Prisons' requirements are about
   14     bringing outside information into the -- to a prison. We
   15     have no objection to that as long as it meets their
   16     requirements, Judge.
   17                THE COURT: Okay.
   18                MR. WATERSTREET: Okay.
   19                MR. DENSEMO: Judge, we contacted the Department of
   20     Corrections or Federal Detention Center and they said we have
   21     computers that you can use, you can't bring your own laptop.
   22     We said fine, no problem. Dickerson doesn't have any laptops
   23     in those cells. I don't know if Mr. Waterstreet has ever had
   24     an opportunity to go over to Dickerson and see their visiting
   25     rooms, but they don't have the same facilities that Milan


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2220      Page 148 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     148

    1     has. There are no computers in that. Obviously if we can't
    2     bring them in, the people at Dickerson are going to tell us
    3     we are not going to allow it, and I will turn around and
    4     leave if they say I can't bring it in.
    5                THE COURT: You can bring a computer in if it is
    6     allowed by the facility.
    7                MR. DENSEMO: That's all we are asking.
    8                THE COURT: I don't have any problem with that.
    9                MR. DENSEMO: Okay.
   10                THE COURT: In the order, if you would submit it,
   11     just say as allowed by the facility so we know it is right in
   12     there.
   13                MR. DENSEMO: That's fine. I appreciate it.
   14                MR. WATERSTREET: Thank you very much, Your Honor.
   15     I appreciate it.
   16                THE COURT: Is there anything else?
   17                MR. DENSEMO: No, Your Honor. Have a great day.
   18                THE COURT: Thank you.
   19                THE LAW CLERK: All rise. Court is adjourned.
   20                (Proceedings concluded at 3:54 p.m.)
   21                                    _     _    _
   22
   23
   24
   25


                                  U.S.A. vs. Ramadan • 17-20595
Case 2:17-cr-20595-VAR-EAS ECF No. 109 filed 10/19/18 PageID.2221      Page 149 of
                            Evidentiary149
                                        Hearing • September 12, 2018
                                                                                     149

    1                                   CERTIFICATION
    2
    3                    I, Robert L. Smith, Official Court Reporter of
    4     the United States District Court, Eastern District of
    5     Michigan, appointed pursuant to the provisions of Title 28,
    6     United States Code, Section 753, do hereby certify that the
    7     foregoing pages comprise a full, true and correct transcript
    8     taken in the matter of U.S.A. vs. Ramadan, Case No. 17-20595,
    9     on Wednesday, September 12, 2018.
   10
   11
   12                                 s/Robert L. Smith
                                     Robert L. Smith, RPR, CSR 5098
   13                                Federal Official Court Reporter
                                     United States District Court
   14                                Eastern District of Michigan
   15
   16
   17     Date: 10/19/2018
   18     Detroit, Michigan
   19
   20
   21
   22
   23
   24
   25


                                  U.S.A. vs. Ramadan • 17-20595
